Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 1 of 64




   Trump v. Twitter, lnc (1:21-cv-2244L\ District Court, S.D. Florida Judge Robert Nichols Scola Jr.
   Friend of Court Brief filed by David Andrew Christenson October 4th,2O2L

                                                 Friend of Court Brief 2


   Judge Scola,


   I despise Trump and Biden. lf we do not change      the narrative, we will all die.

   Twitter and Jack Dorcey have censored me, and Americans have died and will die.

    lf the Supreme Court had just ordered a response to my Extraordinary Writ of Mandamus and
    Prohibition L4-LOO77, we would not be in the Pandemic.

    Help save Mankind by changing the narrative. STOP THE CENSORSHIP.


    I   took an oath                                                       to uphold, protect and honor the
                       as an Air Force Academy graduate and Air Force Officer
    Constitution. I did not realize that everyone in my country would be the enemy - "foreign and
    domestic".

    Attached are court pleadings. This is information for you. Maybe you learn something maybe you do
    not. Last sentence First Amendment: "and to petition the Government for a redress of grievances." My
    grievance is to educate you about how important the First Amendment is'


    References:


    Judge Ellen Lipton Hollander (MDD two cases)
    Standage v. Braithwaite (1:20-cv-02830) District Court, D. Maryland
    State of Maryland v. United States of America (1:18-cv-02849) District Court, D. Maryland


    Chief Justice William PryorJr. (ln 2020 he docketed SCOTUS Writ 14-1007and gave me an appealin
    Alters v. People's Republic of China (l:20-cv-2tL08) District Court, S.D. Florida Judge Ursula Mancusi
    Ungaro)
    United States Court of Appeals for the Eleventh Circuit - David Andrew Christenson v. The United States
    of America - Court of Appeals No.: 2L-10371
    United States Court of Appeals for the Eleventh Circuit - Appeal Number: 2O-t3766-F Case Style: Marta
    Reyes, et alv. David Christenson District Court Docket No: L:20-cv-2l108-Uu


    Judge Ursula Mancusi Ungaro (SDFL - docketed over 100 pleadings and letters. The 11th Circuit allowed
    me to appeal.)
    Alters v. People's Republic of China (1:20-cv-21108) District Court, S.D. Florida Judge Ursula Mancusi
        Ungaro


        Chief Judge Lee H. Rosenthal all gave me a voice in two cases, and she was not the presiding judge.
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    Bridges v. Houston Methodist Hospital (4:2L-cv-01774) District Court, S.D. Texas Judge Lynn Nettleton
    Hughes
   Benitez-White v. Peoples Republic of China (4:20-cv-0L562) District Court, S.D. Texas Judge Ewing
   Werlein Jr.



   Godspeed




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    davida nd rewch riste,nson@gma   i   l.   cqm.
    dchristenson6@ hotmail.com.
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 3 of 64




                AMICUS 162   - October 3'd. 2021 - How can smart people be so incrediblv stupid?
      It is and was  pneumonia,  pneumonia, pneumonia, and we knew it. CHINA TOLD US (02108/2020).
    China, on February 8'h,2020, told the world that "Pneumonia" had been released from Wuhan. The
    Chinese called it: Novel Coronavirus !3gryQ, or NCP. The World panicked. On February 1lth, 2020 (3
    days later) it was named by the World Health Organization/ lnternational Committee on Taxonomy of
    Viruses: Severe Acute Respirotory Syndrome Coronavirus 2 (SARS-CoV-2). 2019 novel coronavirus'or
    '2019-nCoV. COV|D79.


   The worst word for a human being is "pneumonia". The worst word for Mankind is "pneumonia". The
   degradation of the lungs is the number one cause of death for Mankind.

    Textbook Definition of Stupid: Politics and Economics caused the world to treat it as a coronavirus and
    not the deadliest disease in the world, pneumonia. Coronaviruses are not Endemic until now.
    Pneumonia is a "cause of death", coronaviruses/COVlD19 is not.

    The transmission of pneumonia is still a mystery to medicine and science as is the transmission of
    COVID19. (There is evidence that COV|Dlg is transferred via feces into the genitals. This would account
    for the high infection rates of both residents and employees of assisted living facilities/memory care
    units. The cure/vaccine could have been as simple as washing one's hands with soap. Sanitizers are a
    mistake.)


    Based on all my research, background, and experiences I believe that we made a Genocidal mistake with
    quarantines, masks, and vaccines. We are Apex Predators that have survived an infinite number of Virus,
    Bacteria and Fungi infections. (What if all of us are to get infected for Mankind to survive?) Empirical
    evidence and personalobservation. Anyone, regardless of the strength of their immune system, can
    become infected with Fungi, Bacterial or Virus pneumonia. Recovery is based on the strength of one's
    immune system. (l had bacterialpneumonia in 2019.)

    A pneumonia (COVID19) infection, regardless of the symptoms and vaccination status, is devastating to
    the immune system. (Think about cancer and how it goes undetected. Your immune system is at work.)

    Justice Kavanaugh, who has been vaccinated, testing positive for pneumonia (COVIDL9) is a big deal. He
    hai been infected. "lt is the pneumonia, stupid." "Keep vour eve on the ball - the pneumonia."

    Attached are the first two pages: United States Court of Appeals for the District of Columbia Case: 19-
    5121 (Civ. Action No. 19-810 - RBW) David Andrew Christenson - Appellant (Movant) v. Appellee - NA
    (Electronic Privacy lnformation Center v. United States Department of Justice) USCA Case #19'5L21
    Document #1829856 Filed:021L9/2020 Page 1 of 16 pases.

    Albert Einstein - "We connot solve our problems with the some thinking we used when we creoted
    them."

    Godspeed - Sincerely, David Andrew Christenson - Box 9063 - Miramar Beach, Florida 32550
    504-7L5-3086-davidandrewchristenson@gmail.com.-dchristenson6@hotmail.com.
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 4 of 64




    L1:09 p.m. ET, February 8,2020
    Wuhan coronavirus gets a new official name
   ,https;/1wwq,q1_r1,,c_o,p11siO1.L_v-e:neWS1_So,tqt_r,Oy!tuS:p--Ul_b_le-ak:-02:Q9   20,intl-
    hnk/h38c7s075_83_63-e_bb-b_5e87"c-Q6._e5_aQb-91-c,5

    China's National Health Commission gave the Wuhan coronavirus a temporary name at a news
    conference on Satu rday.
    For weeks, the rapidly-spreading virus has only been known by the name of the city where it originated,
    something which locals in Wuhan have found frustrating and stigmatizing.
    Chinese officials said that the virus would temporarily be named the Novel Coronavirus Pneumonia, or
    NCP.
    There is no news on when an official final title for the virus will be designated


    The illness gets a name, temporarily.
    h!tp:;1/w_ww.4ytjqnes,csm l2ozQlo?198_lytpr)dl9siilcer-qnqy-!!:u-S Chi4q,h1-ml
    Published Feb. 8, 2020
    The Chinese government has announced a temporary name for the illness caused by the coronavirus,
    ordering the local authorities and state news media to adopt it. ln English, it will be called N.C.P., for
    novel coronavirus pneumonia, the National Health Commission said on Saturday.
    A final, official name will eventually be chosen by the lnternational Committee on Taxonomy of Viruses.
    The organization has submitted a name to a scientific journalfor publication and hopes to reveal it
    within days, the            BBC reported.


    NCP chosen as temporary name                for virus


    n   ew   dea-t   b   s-:a!t.d:2-841
    Cissy Zhou, Orange Wang and Linda Lew
    Published: 6:2Oam,8 Feb, 2020
    China's National Health Commission has given the virus a temporary official name             -   novel coronavirus
    pneumonia, or              NCP.
    The commission announced the new name at a press conference on Saturday and said it should be
    adopted by China's government departments and organisations in China until a permanent name forthe
    infection has been determined.
    The naming of a new virus is decided by the lnternational Committee on Taxonomy of Viruses. A name
    has been submitted to scientific journals and the committee hopes to announce it within days, the BBC
    reported.
    Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 5 of 64

         USCA Case #L9-512I                       Document#L829856                      Filed: 0211912020
                                                                                                              ffi
                                                     uNrrED sTATES couRT oF          AppEALs
                                                                                                              I#I
                                                                                                              I    I


                                                  FoRrHEDrsrRrcroFcoLUMBrAcrRcurr                            i iFBI9ffi ifI i
         David Andrew Christenson           -   Appellant (Movant)                      Case: 19-5121
                                                                                        Civ. Action No. 19-810 - RBW
        Appellee      -   NA
        (Electronic Privacy lnformation center v. United states Department of Justice)

                                    Eleventh Supplemental Petition/Application/Motion for En Banc

              Amicus/Notice 168         -   Nuclear Explosion because of one word. Official name: Novel Coronavirus
                                                                   Pneumonia (NCp)

        The Chinese Government gave the Coronavirus an official name: Novel Coronavirus pneumonia
                                                                                                  {NCp).

        The World absolutely did not \Mant the word "Pneumonia" in the official name. THIS lS AN EplC
        ACKNOWLEDGEMENT.


$s      The lnternational committee on Taxonomy of viruses will give the final name.


        The three pleadings that are attached will enlighten you if you take the time to read them.


        It will take will effort on your part if we are to save Mankind by changing the Narrative.


           Amicus/Notice 104 - Orygen (O2)             -   lf the lmmune System(s) is our army then Oxygen is the bullets.

        Mankind is a fragile species and if we are to survive, we must have an open, honest and uncensored
        dialogue that is not contaminated by those seeking power, money, fame and sex. lt also must not be
        contaminated by Governments, Organized Religion, Businesses and Non-Profits. We also must expose
        our Government's sins and coverups. We must start by exposing the truth about the Katrina Virus
        (Compilation Term) and the Katrina Virus thought process. I could have called it the Tuskegee Study
        thought process as well. We thought it was a good idea to withhold penicillin from black men that had
        syphilis and we did this for 40 years. Syphilis is a horrific and barbaric death that is preventable with
        penicillin.


        we are so fragile that the Centers for Disease Control and Prevention                (CDC) publishes 246   different
        news letters that you can subscribe to and receive via your email.

           Reference: Amicus/Notice 1-41, - God give me the miracle of words to open their minds, hearts and
         souls, I beg you. Judges trust Medical Professionals (MedPros) to protect themselves, their families and
        their fellow Americans. Medical Professionals trust Judges to protect themselves, their families and their
                               fellow Americans. This      is   the textbook definition of Suicide and Genocide.




(Page 1 of Total)
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        USCA Case #19-5t21"                          Document #1-829856              Filed:   OZl19l202O Page 2 of LG


            S      The number one couse of death worldwide is the destruction of the lungs which results in the
                   destruction of the immune system(s). The ffonsfer of oxygen foits. Lung cancer is the number one
                   cause of death in the cancer fomily.


            Reference: Amicus/Notice L42 - Cancer deaths are bad. Cancer and Suicide deaths are really bad.
              Cancer, Suicide and lnfluenza and Pneumonia deaths are apocalyptic. All are underreported,
                                  intentionally misclassified and censored by our government.

        Why    this a big deal? Degraded lungs are the number one cause of death in the world. The failure of
              is
        the lungs to transfer oxygen into the blood triggers the failure of our immune system(s). The failure of
        our immune system(s) causes medical and mental maladies. Heart disease is caused by a degraded
        immune system(s) and lack of oxygen. Degraded immune system(s) reduce our ability to produce viable
        fetuses. Hence the negative birth rate^ Oxygen is our army. At current progressions mankind will cease
        to exist by 2050.




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        dch riste n son6(d hotm   a   i   Lco   m;


                                                           CERTIFICATE OF SERVICE


         I hereby certify that on February 10th,                                                   of Court and served the
                                  pleading on                                                     mail.



                                                          David Andrew Christenson




(Page 2 of Total)
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    AMICUS 159    -   October 1't, 2021 - DO YOU HAVE ANY IDEA OF THE RAMIFICATIONS !F A VACCINATED
                                 SUPREME COURTJUSTICE DIES OF COVID19?


   To: Jane Sullivan Roberts, Patricia McCabe, Jeffrey P. Minear, Marshal Gail A. Curley, Clerk Scott Harris,
   Justice Amy C. Barrett. - Judge Ellen Lipton Hollander, Clerk Felicia Cannon, Chief Judge William PryorJr',
   Clerk David J. Smith, Chief Judge Lee H. Rosenthal, Chief Judge Priscilla R. Owen, Clerk Lyle Cayce, Judge
   Lynn N. Hughes, Clerk Nathan Ochsner, MarshalT. O'Connor, Vice Admiral John Christenson, lrving L
   Azoff, Senior Judge Claude M. Hilton, Judge Liam O'Grady, Judge Anthony John Trenga, Judge Carl John
    Nichols, Judge Amy B. Jackson, Judge Emmet G. Sullivan, and Judge John G. Koeltl.


    Review Amicus 58. The CDC stopped tracking breakthrough cases on May I't,202L. The CDC cannot
    know if the vaccine works and if it does, for how long. The CDC does not know the consequences of the
    vaccine. The CDC has no idea how the vaccine damages our immune system, soul, or spirit.


    Vaccinated Justice Kavanaugh testing positive for COV|Dlg compromises the inteeritv of our entire
    Judiciarv. (You all plaved God.) (The boosters make vou a drue addict. Get vour vascular port now.)


    Nine individuals have made the decision to vaccinate 300 million Americans without judicial oversight.
    WHAT HAVE YOU DONE? YOU COMMITTED GENOCIDE. (Just a response to 14-1007 could have saved
    us.) (You tampered with God's children.) (You have no idea of the medicalor mentalconsequences.)
    (For national security purposes I hope that several members of the Supreme Court have not been
    vaccinated. Remember that the creators of the vaccine are in essence Trump or Biden, your choice.)

    Multiple members of the Supreme Court, including Chief Justice John Roberts, have degraded immune
    systems and are susceptible to viruses, bacteria, fungi, etc.


    Justice Kavanaush wi!! have to recuse himself from anv and all litieation involvine the COV|Dl9
    vaccines. He was vaccinated and became infected. lt will leave eight justices. We will have different
    opinions from different appellate courts.

    This breakthrough infection is the atomic bomb heard around the world.


    Any judge hearing a COVlDlg vaccine case and ruling in favor of the mandate and employment
    termination policies should recuse themselves. The vaccine is a choice.

    You all are drug addicts. You need your COV|D19, pneumonia, influenza, HPV, shingles, etc.   to live'

    YOU HAVE GIVEN UNPRECEDENTED POWER TO OUR TYRANNICAL GOVERNMENT.


    What diseases are the Haitians bringing across the border?

    Godspeed - Sincerely, David Andrew Christenson
    Box 9063 - Miramar Beach, Florida 32550
    504-715-3086-davidandrewchristenson@smail.com.-dchristenson6@hotmail.com.
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 8 of 64




     AMICUS 157    -   OCTOBER 1s, 2021- Supreme Court Justice Brett Kavanaush has luns cancer and has
                           developed mental illnesses which include suicidal ideations.


   To: Jane Sullivan Roberts, Patricia McCabe, Jeffrey P. Minear, Marshal Gail A. Curley, Clerk Scott Harris,
   Justice Amy C. Barrett. - Judge Ellen Lipton Hollander, Clerk Felicia Cannon, Chief Judge William Pryor Jr.,
    Clerk David J. Smith, Chief Judge Lee H. Rosenthal, Chief Judge Priscilla R. Owen, Clerk Lyle Cayce, Judge
    Lynn N. Hughes, Clerk Nathan Ochsner, MarshalT. O'Connor, Vice Admiral John Christenson, lrving L
    Azoff, Senior Judge Claude M. Hilton, Judge Liam O'Grady, Judge Anthony John Trenga, Judge Carl John
    Nichols, Judge Amy B. Jackson, Judge Emmet G. Sullivan, and Judge John G. Koeltl.


    He is also delusional. Kavanaugh will continue to second guess himself into paranoia as will all of you.


    COV|Dlg is, as are all viruses,   a   trigger that attacks the immune system. Symptoms may not appear for
    years.


    All Supreme Justices are now wondering why the COV|Dlg vaccine did not work. This will have a
    psychologicaleffect on allof them. Kavanaugh is 55.


    Have you heard the COV|Dlg term "long haulers"?


    Nobody knows the damage or potential damage that the COV|Dlg infection has done to a vaccinated
    individual.

    The fact that his immune system did not protect him, at his age, should be of great concern.


    People will spin that he was asymptomatic but in fact they do not know that'


    Supreme Court Justice Brett Kavanaugh had a strong immune system and a vaccine, and he still got
    covtD19.

    This is a fact: As the COVlDlg vaccine degrades so does the immune system. Get you vascular port now.


    This is the beginning of the end. Mankind committed suicide.

    All we had to do was change the Narrative.




    Godspeed - Sincerely, David Andrew Christenson
    Box 9053 - Miramar Beach, Florida 32550
    504-715-3086-dav1da11{tew-c-[tU-t9-nLot1@-gmai].-qo-r..-d-c,hris-t*eLq9-06--@-hglmptl.c-qu.
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 9 of 64



  My books have been removed/censored/sonitized from the Librory of Congress. All references to me ond
  my books have been removed/censored/sonitized from the Library of Congress. My books have Librory of
  Congress Control Numbers (LCCN). This book wos placed into the Library of Congress in 2072.


                           The United States Supreme Court and The Katrina Virus
                                A Prelude/Reference Book/Appendix - Book 7
                                         By David Andrew Christenson
                                    ISBN 978-0-9846893-8-5 Hardback SCKV
                                     ISBN 978-0-9845893-9-2 EBook SCKV
                                               LCCN  2012933074
                                            Co pyright 1,-7 24L63643

                                             Persimmon Publishing
                                                    Box 9053
                                         Miramar Beach, Florida 32550


  An Epic Constitutional Crisis. I am talking about the political destruction of all three branches (Executive,
  Judicial and Legislative) of our Federal Government. One hundred and fifty five million Americans and
  Canadians may be infected with The Katrina Virus. Did the United States Supreme Court participate in
  the criminal cover-up? Misprision is a crimefelony. ln simple terms it means that you had knowledge of
  a crime and did nothing. Did the Supreme Court have knowledge? YES! I gave them the knowledge. The
  realquestion is: what did the Supreme Court do with the knowledge of The Katrina Virus and the cover-
  up?


  There was no simple way to present this story. I fully acknowledge that the material is presented in an
  incoherent manner. What you are reading is a compilation of my communications with the Supreme
  Court since my arrest for cyberstalking FBI Special Agent Steven Rayes on March 15th, 2011. lt must be
  emphasized that I was arrested on a Louisiana Warrant (not a Federal Warrant as one would expect.)
  and I have never been charged with a crime. A Louisiana Search and Seizure Warrant was used by the
  FBI to steal my evidence, documentation, etc. of what happened in New Orleans after Hurricane Katrina.
  ln simplistic terms chemical warfare contaminates were released from DOD and CIA classified facilities.
  The United States Military conducted operational missions in violation of Federal Law and killed
  Americans. 1500 Americans are still missing. Were the contaminated bodies recovered, analyzed and
  burned in Federal Government incinerators? Are some of the bodies being kept alive in vegetative states
  so that the Federal Government can study the long term effects of the Katrina Virus? (Remember the
  Syphilis Studies in Alabama and Guatemala.)


  This is a Prelude/Reference Book/Appendix. The end of the story has not been written. Judgment must
  not be passed upon the Supreme Court at this time. The Supreme Court may have actually protected
  me. Think about it. Who could the Supreme Court have turned to? Congress and the Executive Branch
  are responsible for the murder, genocide, treason and crimes against humanity. The only option for the
  Supreme Court may have been to provide me with the protection needed, to not only uncover the truth
  about the Katrina Virus, but to bring it to the attention of American and Canadian people.
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                                            Amicus 58 - August 7th,2021-


                                           Read the last paragraph first.
     I have a math background from the Air Force Academy. The most important number we need right now
               is   the number of people who test positive for COV|D19 that have been vaccinated.

                                    They are gambling with the fate of Mankind.


    Breakthrough cases are epidemic and indicate that the vaccines will not protect Mankind but only
    facilitate our demise. How can I say, "focilitote our demise"? lf we have Breakthrough cases then the
    vaccines do not work, and our immune systems do not work. ln very simple terms our immune systems
    were turned off and instructed not to fight COV|D19.

    THE CDC IS TRACKING COVID19 INFECTIONS FOR THOSE THAT ARE UNVACCINATED BUT NOT THOSE
    THAT ARE VACCINATED.


    !F YOU ARE VACCINATED AND TEST POSITIVE FOR COVID19 THEN THE CDC DOES NOT WANT TO
    KNOW PER THE CDC.


    COV|Dlg is not going away, and they know that. The rush to make us slaves to a new and unproven
    technology causes me great concern. lt would be different if they had used established technology. They
    are not telling us something.


    It would have been better for us to have fought COV|Dlg with our own immune systems. Our immune
    systems are the greatest fighting force the world has ever known. Our immune systems have artificial
    intelligence and are quantum computers.

    The following was cut and pasted from the CDC website.
    https://www.cdc.sov/vaccines/covid-19/health-departments/breakthrough-cases.html
    "As of Moy 1, 2021, CDC transitioned            from monitoring oll reported vaccine
    breokthrough cases to focus on identifying and investigating only hospitalized or
    fatal cases due to ony couse. This shift will help maximize the quality of the dato
     collected on coses of greotest clinicol ond public heqlth importonce. Previous dqto
     on all vaccine breakthrough coses reported to CDC from January-April 2021
     are available."

     How can the CDC state the following when they are not tracking Breakthrough cases? Since May 1't?

     "COVID-19 voccines ore effective - Vaccine breokthrough coses occur in only o smoll percentage   of
    voccinated people. To dote, no unexpected potterns hove been identified in the cose demogrophics or
    voccine chorocteristics omong people with reported voccine breokthrough infections."


     Godspeed - Dave
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 11 of 64
        Case: 21-20311                 Document: 0051       5924448         Page:   1    Date Filed: 0710212021




      Case No.21-20311 - Jennlfer Bridges; et al, Plaintiffs - Appellants - v. - The Houston Methodist Hospital,
      Defendants - Appellees Movant David Andrew Christenson June 2gth, 2021.


       Amicus 18     - You are going to dle if you do not change the narrative. Kill yourself, but please do not kill
           our children and more importantly do not take away their God Given right to procreate. You are no
                                                 betterthan Hitlerif you do.

      China had a 1'H0LY FUCK". moment when they realized what they had stolen from the U.5, (lt happened
      after the negllgent release of the Katrina Virus during Hurrlcane Katrina, the release of the Chines Spies
      and when May Ray Nagan of New Orleans was quarantined in Chlna. Check the dates.)


      KT McFarlandi "l w*s PresidentTrump's flrst deputy nationol security odviser and knew nothlng about
      these potentially dongerous ooln-of-funetion reseorch projects, nor thdt the IJ,S, government wos
     lunding    Chinese    lobs."   Read the attached article.


      Do you realize what I am saying? The U.S., and now China, have a "gain-of-function" weapon, that is in a
      one ounce viral. that if released will destroy Mankind withln seven days. 1'HOLY FUCK"

      The cat is out of the bag. The world wlll discover the truth.


      China realized that they had stolen a weapon that could destroy Mankind but that it could not be
      controlled. They could not protect their own people. The U.S, already knew this.

      You have been given the Federal case numbers where the Chinese Sptes were released by Federal
      Judges. The FederalJudlciary has been complicit in the Genocide of Manklnd.


      Think about the 40 plus year Tuskegee study.
                                                                                                 f"Hffii,,m
      What agreement did the U.S. enter into with China?
                                                                                                       JUL 012rl21
      China and the U.S. were secretly working together at the Wuhan Lab.


      Please read the attached opinion by KT McFarland.


      This Amlcus was filed in the following cases:

      United States Court of Appeals for the Eleventh Circuit - David Andrew Christenson v. The United States
      of America - Court of Appeals No.: 21-10371


      Gse No. 21-2031X. - Jennifer Bridges; et al, Plaintiffs    -   Appellants - v. - The Houston Methodist Hospitaf
      Defendants     -   Appellees

      Bridges v. Houston Methodist Hospital l4z2t-arOt774) District Court, S.D. Texas Judge Lynn Nettleton
      Hughes
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 12 of 64
          Case: 21-20311             Document: 00515924448 Page:2                  Date Filed: 0710212021




      Neve v' Birkhead (1:21-cv-00308) District Court, M.D. North Carotina Judge Loretta Copeland Biggs
      Legarreta v. Macias (2:21-w-00L79) District Court, D. New Mexico Judge Martha Alicia Vazquez


      Klaassen v. The Trustees of Indiana University (1:21-cv-00238) Distrlct Court, N.D, lndiana Judge Damon
      R   Leichty

      Godspeed
      Sincerely,
      David Andrew Christenson
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      Miramar Beach, Florida 32550
      504-715-3086
      davidandrewchristenson @email.conl.
      dch ristensoJr 5@   hqtma i l.cqm.


                                                  Certificate of Service

           I hereby certlfi/ that on June 28th,202!,1 filed the foregoing wlth the Clerk using CM/ECF and then
                   served the pleading via CM/ECL U.S. First Class Mail and Email on June 28tt',202L.



                                               David Andrew   Ch   ristenson



      KT McFarland: Second COVID cover-up - China, we know about but was there another one in the US?
      Scientists insisted that anyone promoting the lab leak theory was an antFscience consplracy theorist
      K.T. McFarland By K.T. McFarland I Fox News
      https ://www.foxnews.com/opinion/second-covid-coveru      o-ch in a-us-Ft-mcfa rra nd
      The world rightfully wants to find out what really happened in Wuhan and how what should have been a
      run-of-the-mill virus set off a global pandemlc. We probably never wilt, however, because of the Great
      Chinese Cover-up,
      But is there another cover-up, hiding right here in plain sight in Washington?
      Did America bungle our initial handling of the pandemic because a handfut of government scientists and
      bureaucrats, and their unwitting media enablers, deliberately sent us off in the wrong direction in order
      to cover up their own compllcity in creating COVID-19?
      These scientists insisted that anyone promoting the lab leak theory, including our leading governors and
      well-respected scientists, was a hysterical, xenophobic, anti-science conspirary theorist.
      Did they react with such veloclty and venom because they were covering up fortheir own misguided
      actions? What did they not want the world to know? That they were funding risky gain-of-function
      research and genetically engineering fairly harmless viruses to make them more contagious, virulent and
      lethal in order to study them? That they were awarding grants to an adversarial nation's research lab,
      where the Chinese military was also involved?
       Did they do these things without the approval, or perhaps even knowledge of their bosses and therefore
       need to cover thelr track, lest the world demand answers for their rote for inadvertently contributing to
      a   global pandemic?
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 13 of 64
       Case:    21-20311         Document: 00515924448 Page:                  3     Date Filed: 0710212021




      lwas President Trump's first deputy national security adviser and knew nothing about these potentially
      dangerous gain-of-function research projects, nor that the U.S. government was funding Chinese labs.
      So, who did give the go-ahead to resume risky gain-of-function research? Government bureaucrats?
      lf President Trump had been briefed, he NEVER would have agreed to it. First, he would have railed
      against U.S. tax dollars being used to pay for research in Chlna. He was elected to change China pollcy,
      not subsidize it. Trump, a notorious germaphobe, would have railed even more loudly against paying
      mad scientists to create Frankensteln monsterviruses.
      So, who did give the go-ahead to resume risky gain-of-function research? Government bureaucrats? The
      so'called "expert class" who have been proven wrong again and again over the course of the pandemic?
      Even if they were not specifically funding gain-of-function research at the Wuhan lab, what were we
      funding there?
      lf we weren't funding gain-of-function research in China, were we doing so at other labs in other lands?
      Surely the decislon to create killer viruses capable of creating global pandemics lf mishandled should
      have been made at the hlghest levels of government. But it wasn't,
      We now learn that National lnstitutes of Health scientists, whose gain-of-function research was shut
      down by the Obama administration, suddenly restarted it in January 2O!7,)ust as Donald Trump was
      taking office.
      When discussing the possibility of a lab leak in gain-of-function research, Dr. Anthony Fauci wrote "that
      the benefits of such experiments and the resulting knowledge outweigh the risks." Tell that to a world
      still in the throes of a pandemic that has caused almost 4 million deaths.
      When President Trump entertained the lab Ieak theory, they blamed him for, the death of hundreds of
      thousands of Americans, These sarne government experts urged their allies in the medla, social media
      and Silicon Valley to censor and silence anyone who questioned their pronouncements. Evidence is
       mounting that it likely was a lab leak, and these same scientists thought so all along, but refused to say
      so.
      It is not fearmongering or conspiracy theorizlng to ask legitimate questions of our own officials. lt is only
      prudent. We are just emerging from a global pandemic that has caused more damage to our society and
      economy than a world war. Surely, we need to examlne every aspect of the origin and spread of COVID,
      even if holding up a mirror to our own actions unveils a cover-up in Washington,
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 14 of 64




       Amicus - 41-July 23'd,202L- Statistically/Mathematically Breakthrough COV|Dlg lnfections are         a

       majorindicatorthatthevaccinesarenotworkingfora@andthatbooster
                                      vaccines will be required indefinitely.


    A Genocidal mistake was made. History   will record that it was Egregious, lntentional and Malicious.

    The continual injection of vaccines will ultimately kill us by destroying our immune systems.


                                       I CANNOT MAKE THIS MORE CLEAR


    Here is proof that I am right. The Biden Administration states that people with "compromised immune
    systems" will need boosters.


     THE VACCINES DO NOT WORK WITHOUT THE IMMUNE
     SYSTEMS AND YET THE VACCINE DESTROY THE IMMUNE
     SYSTEMS. (Alzheimer's is Biden's Hift                          to vou.l

     YOU TOOK THE VACCINE. YOU COMMITTED SUICIDE.

     Think about this. Our immune systems defend Mankind against an infinite number of viruses, bacteria,
     and fungi every second of every day. Our immune systems have artificial intelligence, and they are our
     armies. Every vaccine we give ourselves degrades our immune systems. We lose the ability to fight.

     Our immune system is a medical quantum computer that would have analyzed the COVlDl9 virus and
     then developed a defense for all mutations. This would have been communicated to Mankind via the
     immune systems.

     COVlDlg has been around since 2019. lt has equally impacted both the Northern and Southern
     Hemispheres. This has never happened before. COVlDlg is the most complex virus in the history of
     Mankind. lt is a Genocidal Virus. We die by the virus or the destruction of our immune systems if we
     continue with the "Vaccinate at all Costs".

     You cannot have "Herd lmmunity" with vaccines when the virus is constantly mutating. Mathematicallv
     we had "Herd lmmunitv" at Thanksgiving 2020 until we started vaccinating.

     COV|D19 is mutating and not going away.


     Medical Experts do not understand statistics. They do not understand the consequences of
     Breakthrough cases. The mentality they use is the same that they have used for suicides for 30 plus
     years and it is why mathematically suicides will outnumber births in a few years.
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 15 of 64




     BY DAVID ANDREW CHRISTENSON: THE NET INCREASE IN PROTECTION FROM THE COVID19 VACCINE
     IS MINOR COMPARED TO THE DAMAGE            -   REDUCED PROTECTION . THAT THE VACCINE INFLECTS ON
     OUR IMMUNE SYSTEMS.


    There are two reasons that Breakthrough lnfections are taking place. The Delta or Lambda Covid19
    Viruses are stronger than the original COVIDlg Viruses and the individual's immune system is
    compromised by the original vaccine.

    This Amicus was filed in the following cases:


        1. Writ of Mandamus and Writ of Mandamus 14-1007 Supreme Court
        2. Standage v. Braithwaite (1:20-cv-02830) District Court, D. Maryland Judge Ellen Lipton Hollander
        3. Alters v. People's Republic of China (1:20-cv-21108) District Court, S.D. Florida Judge Ursula
               Mancusi Ungaro
        4.     Democratic National Committee v. The Russian Federation (1:18-cv-03501) District Court, S.D.
               New York Judge John George Koeltl
        5.     United States Court of Appeals for the Eleventh Circuit - David Andrew Christenson v. The
               United States of America - Court of Appeals No.: 21-10371
        5.     Case No. 2L-2O3LL - Jennifer Bridges; et al, Plaintiffs - Appellants - v. - The Houston Methodist
               Hospital, Defendants - Appellees
        7.     Bridges v. Houston Methodist Hospital (4:27-cv-0L774) District Court, S.D. Texas Judge Lynn
               Nettleton Hughes
        8.     Neve v. Birkhead (1:21-cv-00308) District Court, M.D. North Carolina Judge Loretta Copeland
               Biggs
         9.  Legarreta v. Macias (2:21-cv-00179) District Court, D. New Mexico Judge Martha Alicia Vazquez
         10. Klaassen v. The Trustees of lndiana University (1:21-cv-00238) District Court, N.D. lndiana Judge
             Damon R Leichty


     Godspeed - Sincerely,


     On File


     David Andrew Christenson
     Box 9063 - Miramar Beach, Florida 32550
     504-715-3086-davidandrewchristenson@gmail.com.-dchristensonS@hotmail.com.

                                                    Certificate of Service

     I hereby certify that on July 23'd, 2O2t,l filed the foregoing with the Clerk using CM/ECF and then served
                     the pleading via CM/ECF, U.S. First Class Mail and Email on July 23'd,202L.

                                                           On File


                                               David Andrew Christenson
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 16 of 64




     THE FOLLOWING IS MATHEMATICALLY IMPOSSIBLE UNLESS THE CDC
     ls LYtNG, AND YES, THE CDC lS ADMITTING TO THE LIES/FRAUD.

     [The quarantine, masks, vaccines, CENSORSHIP, etc. were the worst things we could have done. We will
     continue with the Genocide of Mankind unless the Judiciary/Supreme Court upholds and honors the
     Constitution. STOP THE GOD DAMN CENSORSHIP AND ORDER A RESPONSE.I

                                     THE VACCINE WILL NOT PROTECT YOU.


         THE BOOSTERS THAT YOU WILL RECEIVE WILL CONTINUE TO DESTROY YOUR IMMUNE SYSTEM.


     The arrogance of it. The CDC and coconspirators are scaring people into getting the COVlDl9 vaccine.


     Per the CDC: lnfluenza and lnfluenza Deaths were eradicated for the 202012021 lnfluenza and
     Pneumonia Season. THIS INFORMATION WAS AND lS A CRIMINAL FRAUD.


     There was a 97% - 99% reduction in lnfluenza Deaths and that is mathematically impossible. There are
     decades of records, and this has never happened. The CDC publishes the last 13 years of lnfluenza and
     Pneumonia Deaths every Friday with the CDC Flu View Report. lt is a weekly rolling report shown as an
     Excel Spreadsheet. I have provided it to the court on numerous occasions.


     There has been only one pediatric death (18 and under) this year. lN the last three years there were:
     L88,144, and 199 Pediatric lnfluenza Deaths per the CDC. The season corresponds to the fiscal year and
     ends September 25th, 2021. https://www.cdc.eov/flu/weeklv/index.htm


     THE CDC CLASSIFIED EVERYTHTNG AS COVID1g. THE CDC ONLY TESTED
     FOR COVID19. THE CDC CLASSIFIED PNEUMONIA AND INFLUENZA
     DEATHS AS COVID19 DEATHS.



     07 /2L|2O2L: Lab   Alert: Changes to CDC RT-PCR for SARS-CoV-2 Testing
      https://www.cdc.eov/csels/dls/locs/2021107-21-2021-lab-alert-Chanees CDC RT-PCR SARS-CoV-
      2 Testine 1.html "CDC encourages laborotories to consider odoption of a multiplexed method thot con
     facititote detection and differentiotion of SARS-CoV-2 and influenza viruses." (Are you kidding? We did
     not do this already. DAC)

     CORONAVIRUS Published       thours ago By Caitlin McFall - Fox News - CDC urges labs to use COVID tests
     that can differentiate from flu - Laboratories have until the end of the year to make changes to their
     testing practices - https://www.foxnews.com/health/cdc-labs-covid-tests-differentiate-flu
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 17 of 64




    The Centers for Disease Control and Prevention (CDC) urged labs this week to stock clinics with kits that
    can test for both the coronavirus and the flu as the "influenza season" draws near. (Why did the clinics
    stop stocking lnfluenza ond Pneumonio kits? The CDC wanted oll dato to show COV|DL9. DAC)


    The CDC said Wednesday it will withdrawal its request for the "Emergency Use Authorization" of real-
    time diagnostic testing kits, which were used starting in Februarv 2020 to detect signs of the
    coronavirus, by the end of the year. (We hove fraudulent doto dating back to February 2020. The CDC
    wonted a COV\DTS Pondemic. DAC) (We did not hove lnfluenzo becouse we did not test for it, DAC)

                                                               to have adequate time to select and
     "CDC is providing this advance notice for clinical laboratories
     implement one of the many FDA-authorized alternatives," the agency said.

     The U.S. has reported more than 34.4 million cases of the coronavirus since the pandemic began in 2020
     and more than 610,000 deaths. (FRAUD - the 34.4 million cases include false positives and positive flu
     ond pneumonio cases. The 61.0,000 deaths include influenzo and pneumonia deaths. DAC)

     But while cases of COVID-19 soared nationwide, hospitalizations and deaths caused by influenza
     dropped. (semontics - lnfluenza did not just disappear. DAC)

     According to data released by the CDC earlier this month, influenza mortality rates were significantly
     lower throughout 2020 than previous years. (Mothematically lmpossible. DAC)

     There were 645 deaths relatine to the flu amone adults reported in 2020. whereas in 2019 the CDC
     estimated that between 24.000 and 62.000 people died from influenza-related illnesses. (Agoin, this is
     mothemoticolly impossible. The CDC does not include pneumonio deoths which ore about 300,000 per
     yeoT, IT APPEARS THAT WE HAD      A   REALLY BAD FLU YEAR, DAC)


     The CDC urged laboratories to "save both time and resources" by introducing kits that can determine
     and distinguish a positive test for the coronavirus and flu.


     "CDC encourages laboratories  to consider adoption of a multiplexed method that can facilitate detection
     and differentiation of SARS-CoV-2 and influenza viruses," the agency said Wednesday.


     Laboratories will have until the close of 2021 before the CDC officially withdrawals its Emergency Use
     Authorization of the Real-Time RT-PCR Diagnostic Panel.




     Godspeed - Sincerely,
     David Andrew Christenson
     Box 9053 - Miramar Beach, Florida 32550
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     davidandrewch ristenson @gma il.com.
     dch riste nso n6@ h.otm a i l.com.
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 18 of 64




     Trump v. Twitter, lnc (L:2L-cv-22441) District Court, S.D. Florida Judge Robert Nichols Scola Jr.
     Friend of Court Brief filed by David Andrew Christenson October 4th,2O2t


                                                     Friend of Court Brief   !
     Judge Scola,


     Mathematically mankind will cease to exist in the next few years, Mathematically suicides will
     outnumber births in the next few years. Birthrates are negative. Life expectancies are decreasing.
     Americans have lost the ability and desire to procreate. ln the last Census the U.S. population grew by
     about 23 million but 11- million were immigrants. The population increase was7.4Yo but we need at least
     1,1% to replace our population. We have more immigrants than any country in the world - 40 million
     plus.


     President Joe Biden has stated, for the record, that you will need a booster in 8 months, 6 months, and 5
     months. They are discussing the process of installing vascular ports on allAmericans so that they can go
     to the pharmacy and get a COV|D19 vaccine capsule that they can installthemselves.

     All of this has been censored bv Twitter and Jack Dorsev. I cannot invent this stuff and truth      is
     stranger than fiction.

     Twitter and Jack Dorsey did not censor me originally. When the FederalJudiciary started to docket my
     pleadings, they censored me.


     Appeal Number: 2O-13766-F Case Style: Marta Reyes, et al v. David Christenson District Court Docket
     No: 1:20-cv-21108-UU
     Attached are pages     !,2,3,!3,16,24,28,29        - USCA11 Case:20-13766 Date Filed:02/O8l2O21.Page:Lof
     32   total paees.
     Attached are pages     !,3,4,5,    6 - USCA11 Case: 20-13766 Date Filed: O2/O8/2O21Page: 1 of 144        total
     pages.




     Godspeed

     Sincerely,


     David Andrew Christenson
     Box 9063
     Miramar Beach, Florida 32550
     504-715-3086
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Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 19 of 64

                                USCA11 Case: 20-13766                                       Date Filed: 0210812021 Page: 1 of 32


     Appeal Number: 20-13766-F Case Style: Marta Reyes, et alv. David Christenson District Court Docl(et
     No: L:20-cv-21108-UU


                                                                                               Amicus


     Full Disclosure               *   FYl.



     See attachment,




     Godspee


     Since/elV,




     David Andrew Christenson
     P.O. Box 9063
     Miramar Beach, Florida 32550
     504-715-3086
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                   I hereby certify that                                                      ltfit           foregoing with the Clerk of Court and
                                   served the                                                                    e-mail and first-class mail.



                                                                                       David Andrew   Ch   ristenson
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 20 of 64

                    USCA11 Case: 20-13766                Date Filed: 0210812021 Page: 2 of 32


      US Dominion, lnc, v, Powell (1:2L-cv-00040) District Court, District of Columbia Judge Carl John Nichols

      Movant David Andrew Christenson


             Motion for Leave to file Amicus   *   Reconsideration   -   With Corrections Ordered   by Judge Nichols


     Judge Nichols,


      Co   rrections.


      (There is no coherent way to state my case. President Joe Biden's brother, Franl< Biden, a non-attorney,
      but Senior Advisor for the Berman & Berman Law Group, filed a Response with the 11tl' Circuit to my
      Motion to Dismiss my own Appeal. I filed the Motion to Dismiss my own Appeal in October of 2020 and
      it was docketed on october 20rh, 2020. The Response was filed two days after the election. Why file a
      response to a Motion to Dismiss? Here are the weird parts. lasked forthe dismissal to occur on January
     21't,202L, the day afterthe lnauguration. I knewthat Hunter Biden was connected to the case because
     of lsrael and the Mossad but ldid not know about Frank Biden's connection untiljust afterthe
     lnauguration. See attachments.) (Whv did Frank Biden want the j.1th Circuit to expedite the dismissal?)

     What if you publicly docl<et my pleadings and Dominion withdraws their complaint?

     This case is about more than the parties. This case is about our Constitutional Right to a fair election.


     As an American I am interested in this case because it involves the 2020 Presidential Election and the
     impending lmpeachment trial of President Donald Trump. What if Trump was right? Our country is being
     fractured and may not recover. 47% of those that voted, voted for Trump. 4% of those that voted, votecl
     for Biden because they hated Trump, Either way, 47% or 51%o, you have a major problem if you alienate
     such a large percentage of the population in such a contentious manner. We just had 25,000 U.S. troops
     is Washington D.C. for the inauguration, it looked like a war zone. I think that is enough to be an
     interested party.

     My support is for the American People, the Constitution and most importantly the Truth. My support                is
     also for you, as the Judge. My information will educate you and thus protect our country. This case is
     more important than you realize.

     Attorney General Barr made it clear that there was election tampering, but he qualified by stating that it
     would not have made a difference. Start with the Second District is Nebrasl<a. The outcome was
     statistically impossible. That one electoralvote could have made the difference. Was Dominion
      involved?


     This complaint will explore election tampering, fraud, defective security of early voting, mail in votes and
     absentee ballots, etc. lt will also explore computer hacking. The complaint was filed for Billions of
     dollars. To what extent was Dominion involved?The 2020 Presldential Election occurred during a
     Pandemic. The election process was not prepared, and neitherwas security. There was a tenfold
     increase in alternate voting. lf you look at Wisconsin, Pennsylvania, Michigan, and Georgia you will see
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 21 of 64

                       USCA'I1 Case: 20-13766                                  Date Filed: 0210812021 Page: 3 of 32


     that the voter totals differed by less than                           1% or close   to it, THtS WAS THE MOST   TNSECURE ELECTTON tN
     THE HISTORY OF THE UNITED STATES BECAUSE OF THE PANDEMIC, CLOSENESS OF THE VOTE TOTALS IN
     cRlrlcAL       STATES        AND ALTERNATE vorlNG. what was Dominions involvement?

      Neither party has responded to me.

     Attachment 1 is a document about the incompetence of the United States Postalsystem. Did Dominion
     know about the problems with the USPS? Did Dominion disclose this information? How accurately were
     ballots counted that arrived by mail and how many actually arrived? Ballots delivered or not delivered
     bv mail were the difference in the five most important states.

     Attachment 2. This is a weird set of documents and I mean weird. The 1.1il'Circuit tool< no action on my
     pleading and then the next day they accepted the pleacling. Review the Docket which is attached. Judge
     Ungaro allowed me to file 100 plus pleadings/letters in Alters v. People's Republic of China (1:20-cv-
     21108) District Court, S.D. Florida Judge Ursula. This is a Class Action Complaint against the People's
     Republic of China that accuses them of negligently releasing COV|D19. The lead party is a disbarred
     attorney and chief strategist for the law firm that filed the complaint, Berman & Berman Law Group.                               I



     filed an appeal when Judge Ungaro stopped me from filing and that is where it gets interesting. THE 11rH
     CIRCUIT WANTED MY APPEAL. WHY? Judge Ungaro would not docket my Notice of Appeal. The l-1th
     Circuit sent notice to docket the Notice of Appeal. lt is all in the record.


     Attachment 3. This is the Response from Frank Biden and the Berman & Berman Law Group. Read the
     last page first.



     Godspeed - Sincerely, - David Andrew Christenson - P.O. Box 9063 - Miram                                           orida 32550
     5 04 - 7 1 5 - 3 0 8   6-   dq   v_   !_Cien.dp   W !,   11il$-s1-s!1!glgUAL[lp11 ; -


                                                                         CERTIFICATE OF SERVICE


        I hereby certify that on                                                         foregoing with the Clerk of Court and served the
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                                                                        David Andrew Christenson
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 22 of 64

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        Chief Judge Williarn [:ryor                     Jr.                                                             January Zgtt',   202.1
        ll.tlr Circuit
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       Atlanta, Georgia -t0303

       Judge Ellen Lipton l-lollandcr (Standage v. llraithwaite (l:20-cv-02830)l)istrict Court, D. Maryland Judge
       t llerr l.ipton l-lollarrder')
       Federal Court
       101 Wcst l-onrbard Street
       Chanrbers 5B
       Baltirnore, MD 2120.]

       llefrlrerrce: Iltr'Cirr:r.rit 20-137fr6                     * F ancl tht, dtt;rclrr,icl whiclr was clor:kete.ri.

       This is ltow God opotts a door l'or rtte arrrl trits nre s(lLtare in the face witlr a two-by-l'our. larn 8 clays late.


       l)id you krtow that [:rattcis (l]r'arrk) Uiderr, l:rother oI tlre President, was Serrior Advisor (Norr,Att.orney) to
       the Bermarr Law Groupi'

       Did you krlow that Jerenly Altr:rs is the Clrir.rf ,,'ru, trr.tt-"gist ('"Non-Attorrrey) [n lerc:nry Altc:rs is                           a
       disbarred nrtrt-lawynr r:mployoc.l for tlre lir,tr rnan Law Group /

       Did you knclw tlrat Jr:renry Alters is the krad Pl.rirrtitf irr tlris case?


       I never utrdelrstoocl why the [Jerrrtan l.aw (iroup f iled a ftesltonse to                                 r]y Motion to l)ismiss, urrtil now.

       Please grarlt rhe attaclred Motiorr ancl                                  givr rne.30   riays to l'ile a cohelerrt Appeal




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         Chlef   judge Willianr Pryr:r Jr.                                                   0ctober 16th, 2020
         tlth    Circuit
         56 Forsyth 5t,, N.W.                                IIECEIVEI]
         Atlanta, GeorHla 30303                                CLEHK



         David J. Smith
         Clerk   of Ccrurt
         L1th Circuit
         56 Forsyth 5t., N.W.
         Atlanta, Ge0rgia 30303

         Reference: 20-13766 -- F (Motion to Stay and ttren Motionrto Dismiss.)

         'lhank you
                    for giving me a voice and thus Mankind, I don't want to waste your t1me. Judg,e Ungaro gave
         me a real voice and rrobody listened so I don't know what.l would a;.rpeal.


         Ibelieve in miracles so I anr asking you to stay itnd then clisrniss the appeal on January          2L"1   2.020, the day
         after the inauguration, Just in case God shows nre a light, lf you can't that is fine.

         odd thing. I was angry with Reality Winner and her farnily for gelting connected to Michaei Cohen. What
         were they thinking? I have this strange f'eeling that Winner's mom lil<es the spotlight and has a forrn of
         Munchausen syndrorne by proxy. I have not been following the pleaclings hecause it costs me money
         and I don't lrave any. Everythin6 Cohen stated had alrea<jy been done. I cJespise people like that. I might
         be craey but at ieast I am not Cohen. I arrr sympathetic to Winner.


        I may drive over to lacksonville and attencl the Winner hearing in November anci I hope that is not a
        problem. Please let me kttow if there is a problern lvith me attending. Clerk Cayce from the Stl, Circuit
        rnight vouch tbr my professionalism.

        After the inaueuration I have to {ind something-!-Q_do. Do,vou have.iltother.fisht for r[q?.



        6odspeed




        P.O, Box 9063
        Miramar tseach, Florida 32550
        504-7J.5-3086
        davidandrewchriste nson @gm ail.com;
        dchristenson6        @   hotmail.corn;
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 24 of 64

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                                               CASE NO.: 20-13766-F



                        IN THE UNITED STATES COURT OF APPBALS
                              FOR THE BLEVENTH CIRCUIT


                                             DAVID CHRISTENSON,

                                                                        Appellant,

                                                                V.


                                              MAIITA REYES, et al.,

                                                                        Appellees.


          RESPONSE TO APPELLANT'S MOTION TO VOLUNTARILY DISMISS



                                               MARTA REYES, et al.



                                        MATTHEW T. MOORE, ESQ.
                                              Tlre Beruran Law Group
                                              Post Office Box 272789
                                             Boczr Raton, Florida 33427
                                                 Ph: (561) 826-s200
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 25 of 64

                 USCA11 Case:           20-13766           Date Filed: 0210812021 Page: 28 of 32
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       20-13766-F
       Dctvid Christenson r,, Morta                 Re1,e,e, s1 ,7.


                                   RESPONSE TO APPELLANT'S MOTION
                                  TO VOLUN'I'ARILY DISMISS HIS APPEAL

                 COME, NOW Appellees, Marta Reyes and the other Named Plaintiffs in

        Class Action No. 20-cv-21108-UU, pending ir-r the Southern District of Florida,

       and pursuant to Fed.R.App.P.42(b) and 1l1r'Cir. R.42-1. hereby respond and

       agree     to Appellant's tnotion to voluntarily dismiss his appeal, and in                                           support

       thereof, state as lbllows:

                 1.         This appeal was docl<eted on Ocrober 1,2020.

                 2.         On October 20, 2020, a letter fi'orn Appellant Davicl Christenson,

       styled as a motion to voluutarily dismiss his appeal was received by the Court.

       Appellant' letter motion is attached as Exhibit                              A.     -fhis letter motior-r was not

       served upott undersigned connsel                       by Appellant, and it was not errtered on tlre

       docl<et   until Noverrrber 2,2020. Thus. this respouse is timely.

                 3.         In his letter nrotion, Appellant olearly states "l don't want to tvttste

       yoLtr time, Jrulge Ungcrro gave tne a real voice untl nobodlt listened so Iclon't

       lcnoy, whut      I   wottlcl crppeul." See Exhibit                A.    I-{e lhen enl<s that the Court clisrniss

       the appeal, but after a stay throngh the presidential irraugtrration. However,                                            he

        further states: "lJ'yor.r can't l.ttay the appealf , that isJine." See                          icl.


               4.           Appellees conrpletely agree that the appeal should be dismissed now

       and do not oppose Appellernt's voluntary disrnissal.
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 26 of 64

              USCA11 Case: 20-13766 Date Filed: 0210812021 Page: 29 of 32
                 tllli)A'l'i ()lsc:: 2t)..1:1/6ti t}:tr i,iltrl: 'i 1l{)|il',;,0',,.1.) l.'itllo. ti oi /
        20-13766-F
        David Christenson v, Mqrta Reyes, et al.

                5.      Moreover, there is no basis to stay the appeal. Appellant has not paid

        the filing fee or filed to proceed in.forma pauperis, and in his letter nrotion states

       that he has no l'nolley. See id.

                6.      Furtherurore, ol1 its face, since Appellant admits              "[ don't know what I
       would appeal," then pursuant to               lltl'Cir. R.42-4, tl're appeal is self--adnritteclly
        l'rivolor-rs and rnay be distnissed. See Ex. A.

                7.      Since it appears that the appeal lras not beerr assigned to a panel on the

       trrerits, then pursuant       to l1lh Cir. R 42-4(a), the clerk rnay clerically dismiss              the

       appeal.

                WI-IEREFORE, Appellees l-rereby agree to Appellant's nrotion to voluntarily

       disrniss the appeal, and respectfutly request that this appeal be dismissed, and lor

       such other reliel'as the Court rnay deerrr.lust and proper.

               Dated: November 5, 2020.

                                                         Respectfu I ly submitted,

                                                         /s/ Matthetu T. Monre
                                                         Matthew T. Moore, Esc1.
                                                         Fla. Bar No. 70034
                                                         rn nr oore@th ebe rm anlii';gi'oiip. cc m
                                                         s l< ri eger@tlr ebe rrnanl awgroup.com



                                                         Vincent J. Duffy, Esq.
                                                         Fla. Bar No. 8215 t
                                                         servi ce@th ebe rrn an I awgro     Llp.   corl'l
                                                         vd u flfy@thebenr anl awgroup. corlt



                                                            2
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 27 of 64

                USCA11 Case: 20-13766               Date Filed: 0210812021           Page: 1 of 144



     Appeal Number: 20-L3766-F Case Style: Marta Reyes, et al v. David Christenson District Court Docket
     No: 1:20-cv-21108-UU


         Supplemental Motion for Leave to file a Motion for Reconsideration and Motion to Re - Open the
                                                        Appeal.


     [Think about this as you read the pleading. This is a Class Action Complaint filed on behalf of all
     Americans and that includes President Joe Biden. I specifically asked the court to stay the Appeal until
     the day after the inauguration. ln simple form. The President of the United States is suing the People's
     Republic of China through his family. The grotesque part is that the President is not suing the People's
     Republic of China for us. The case is unwinnable because COV|D19 is connected to New Orleans which is
     the Chemical Warfare Capital of the World and President Joe Biden knows that. What        is   the sinister goal
     of the Class Action Complaint besides money?)


     The simplicity of this Appeal is amazing. lf the Court orders a Response, then Americang prevail. Right or
     wrong, the ordering of the Response will change the Narrative and that is what we need right now.


     The Constitutional Question that satisfies the Preamble. ls COV|D19 connected to the Katrina Virus?         I

     have stated repeatedly that COV|D19 is a trigger virus.


     This case is unique in that it directly involves President Joe Biden via his brother, Frank Biden, and his
     son, Hunter Biden. President Joe Biden was a U.S. Senator for 36 years and the Vice President for 8
     years. The Katrina Virus was released in New Orleans during Hurricane Katrina in 2005 because of
     negligence. President Joe Biden was elected to the U.S. Senate in t972 and is thereby responsible for
     the negligent release of the Katrina Virus and the current Pandemic.

     It also is unique because it involves COV|D19 and the People's Republic of China.


     Would the United States be in a Pandemic if the Supreme Court had ordered a Response to Writ of
     Manda mus a nd Prohi bition 1.4-L0077 ?


     Godspeed - Sincerely, David Andrew Christenson
     P.O. Box 9063 - Miramar Beach, Florida 32550
     504-715-3086-davidandrewchristenson@smail.com.-dchristenson6@hotmail.com.


                                               CERTIFICATE OF SERVICE


             Iherebycertifythaton February 6th,202L lfiledtheforegoingwiththeClerkof Courtand
                     served the pleading on all counsel of record by e-mail and first-class mail.



                                               David And rew   Ch   ristenson
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 28 of 64

                  USCAI 1 Case:   20-13766       Date Filed: 0210812021 Page. 3 of 144



                                             CASE NO.:21-XXXXX




                                    IN THE UNITED STATES COURT OF APPEALS
                                          FOR THE ELEVENTH CIRCUIT




                                             DAVID CHR!STENSON,
                                                    Plaintiff
                                                       v.
                                           United States of America,
                                                  Defendant



                                  Writ of Prohibition and Writ of Mandamus.

                                                       &

                                            Constitutional Question



                                        Filed on Behalf of all Americans.




     Godspeed


     Sincerely,


     (on file)


     David Andrew Christenson
     Box 9063
     Miramar Beach, Florida 32550
     504-715-3085
     davidandrewchristenson@gmail.com.
     dchristenson6@hotmail.com.
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 29 of 64

                USCA11 Case:      20-13766           Date Filed: 0210812021 Page: 4 of 144



                                              Constitutiona     I   Question


     Does our Government have a right   to lie to   us?


                                        Writ of Mandamus and Prohibition

     This is Moot if the Honorable Court Orders the Government to Respond to the Attachment.


     What parts of the attachment are true, and which are false?


                                                          Conclusion


     Something so simple as a response could change the Narrative and thus give us a chance,


                                                     One Question


     ls COVIDl9 connected to the Katrina Virus?
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 30 of 64

                USCA1'1 Case.      20-13766        Date Filed. 0210812021 Page: 5 of 144




       The Supreme Court Murdered
                                            Mankind
                                  Writ L4-10077
                             The Katrina Virus
         By David Andrew Christenson
                                                November 8th, 20L5


      The United States developed the perfect military weapon. This weapon was organic, easy to disperse,
     dissipated in five days and the result was the opposing army committing suicide. This weapon contained
              a derivative of the Katrina Virus and was negligently released during Hurricane Katrina.


            The Supreme Court has covered up the release and the impending Genocide of Mankind.


                             They classified me as a terrorist for trying to inform you.


      October 12th, 2050 is Mankind's final day. Cause of death will be suicide related to the Katrina Virus (A
                                                compilation term).


                                 Mankind's immune system(s) is being destroyed,


        The number one cause of death will be related to the respiratory system, i.e. flu, pneumonia, etc.


                                Suicides will surpass births between now and then.


       The world will not be able to support the financial (medical) costs associated with the destruction of
                                           Mankind's immune system(s).
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 31 of 64

                USCA11 Case: 20-13766                Date Filed: 0210812021            Page: 6 of 144



                                       The Supreme Court Murdered Mankind
                                                     Writ 14-10077
                                                    The Katrina Virus
                                            By David Andrew Christenson


                                                          lndex


     This is DOCUMENTATION for the Genocide and the Crimes Against Humanity that was and is being
     committed by the Supreme Court against Mankind.

     Original documentation received from the Supreme Court is included in the second book: "The Supreme
     Court Murdered Mankind Original Documentation from the Supreme Court" and will be identified          as

     ODSC Book 2 (ODSC Book 2)


     Do not doubt what you are about to read as all of it is factual and verifiable.


     Please do not judge me as the messenger. Please judge the message, incoherent and disjointed as it may
     be, I am a Federal Whistleblower who never received any training or education on how to prevail. I did
     the best I could, considering I was fighting a corrupt system that had no use for the Constitution and the
     fact that I had no money and no support from anyone and that includes those people that had an
     ethical, moral and legal obligation to help me and mankind. I reached out to over 100 law firms and law
     schools as well as Whistleblower non-profits.


     The original Writ 14-10077 Extraordinary Writ with Writ of Prohibition and Writ of Mandamus was
     stolen from my home after it was docketed by the Supreme Court. I believe the FBI is responsible for the
     theft as it was the only item taken. I have tried to duplicate the original Writ as best I could. Duplication
     of the Writ became even more complicated when Microsoft closed my primary email account on behalf
     of the Department of Justice. I used davidandrewchristenson(at)hotmail.com for all of my legal notices
     and for storage. The FBI destroyed three of my computers and all of my backups. I thought the "Cloud"
     would be safe. The Supreme Court refused to provide me with    a copy of the original Writ. Clerks Jeffrey
     Atkins 202-479-3263, Chris Yasil202-479-3027 and Scott Harris202-479-3000, etc. refused to provide
     me with a copy after repeated written and verbal requests. (All attachments have not been included
     because of space and financial limitations.)


     Please reference United States Court of Appeals for the District of Columbia Circuit: L4-5207 Larry Elliot
     Klayman v. Barack Hussein Obama andt4-52L2 Rand Paulv. Barack Hussein Obama. There is substantial
     documentation, over 100 unanswered pleadings, in the two appeals that are available on line and via
     Pacer. The critical omission from the dockets, even when the court ordered, is that the Department of
     Justice never filed any response, objection, pleading, memorandum, motion, etc. and yet the appeals
     were dismissed. I filed for Summary Judgement. I filed a motion to join/intervene in both class action
     complaints that were filed on behalf of the American People because I had cause and standing. The two
     original class action complaints were filed in the District of Columbia District Court.
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 32 of 64




    Trump v. Twitter, lnc (1-:21-cv-22441) District Court, S.D. Florida Judge Robert Nichols Scola   Jr,
                                                                          th,2021"
    Friend of Court Brief filed by David Andrew Christenson October


                                                                      Friend of Court Brief 4


    Judge Scola,


     Did you know what was in the attachment?


     Have you heard of it?




     David Andrew Christenson
     Box 9063
     Miramar Beach, Florida 32550
     504-715-3085
     do v-Ldand rew-cfu rgle n s-q L@gm atl,            Q   e   !n,
     d e,h-riS-!_e"l   s   o n €@   hSlm al.q.o-m   .
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 33 of 64




                            UNITED STATES COURT OF' APPEALS
                                 rOR THE FIFTH CIRCUIT

                   Third Open Letter to Chief Justi-ce Car]. Stewart
     Case No. 16-30918

     IN RE: DEEPWATER    HORIZON

     T,AKE EUGENIE LAND   & DEVEIOPMENT,      TNCORPORATED;   ET A],,

                                         Plaint i f fs
     V.
     BP EXPLORATION & PRODUCTION, INCORPORATED; BP AMERICA PRODUCT]ON
     COMPANY; BP, P.L.C.,

                                   Defendants - Appellees
     V.

                               DAV]D ANDREW CHRISTENSON,
    Movant - Appellant.




    David Andrew Christenson
    Box 9063
    Miramar Beach, Fl. 32550
    davidandrewchris tensonGgmai I    . com
    dchri stenson6Ghotmai l- - com
    504-715-3086
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 34 of 64




     Chief Judge Carl Stewarl                                                             August 30'h, 2017
     5thCircuit
     300 Fannin Street
     Suite 5226
     Shreveport, LA 7 11.013A7 4

     Judge Stewart,


     The following paragraph was taken from Supplemental Designation Memorandum Three This is how
     close we are to extinction We are within .3% (.003) Case: 16-309L8 Document: 00513859493 Page: 1
     Date Filed: 01/25/2017 5th Circuit Court of Appeals.


           L.   Pneumonia and lnfluenza are preventable if people have a strong immune system. The Katrina
                Virus has destroyed our immune system(s). The Katrina Virus is a compilation term. Think of it as
                an anti-social norm, an anti-way of thinking. We must drastically change our way of thinking and
                the way to do this is by exposing the truth. Mavbe a better term is the "Katrina Anti-Social
                Norm". Our failing to change will result in our suicide. Mankind is killing himself because he
                won't embrace an Anti-Social Norm. (We will have a vaccine for everything.)

    Here is the proof that we are "Bubble People" courtesy of President George W. Bush, President Barack
    Obama and Chief Justice John Roberts. After Hurricane Katrina and the release of the Katrina Virus
    President Bush knew that he had to do something major to fight chemical warfare agents and manmade
    viruses. He selected Texas A & M in College Station Texas because that is where his father's Presidential
    Library is and it is in his home state. (Connected to the Veterinary College because they need pigs and
    birds (chickens) for testing. Pigs are closely representative for a human when testing vaccines) The
    campus is also close to the Gulf of Mexico and New Orleans where the BP Oil Spill took place with the
    release of the Katrina Virus and the use of Corexit.


           2.   When fully functional, the facility is expected to have the capacity to produce the bulk antigen
                needed for up to 50 million adjuvanted pandemic influenza (Katrina Virus) vaccine doses within
                four months of a declored influenza pandemic and availability of acceptable virus seeds.

    This facility is a chemical warfare facility that was built on the Texas A & M campus in College Station
    Texas. See attachment 1. (l love the word "declared", it literally means "screwed", past tense.)


    It is almost impossible to find acceptable seeds for influenza (Katrina Virus). Four months is a lifetime for
    viruses to mutate and travel the world. lt has been statistically proven that the influenza and pneumonia
    vaccines that Americans receive do not work. People survive the flu and pneumonia on their own if they
    have a strong immune system and not one that has been degraded by previous vaccines.


    Video 708 (attachment 1) which I produced in September 201.4 and released on October 1't, 2014 was
    available worldwide until the US Federal Government removed/censored it from the internet. All 750 of
    my videos have been removed/censored from the internet by the US Federal Government.
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 35 of 64




         3.   With the Texas A&M CIADM's advancement of the Pandemic lnfluenza Vaccine Facility and the
                                      - along with the recent retrofit completion of the Texas A&M
              Viral-based Vaccine Facility
              National Center for Therapeutics Manufacturing, which offers flexible and adaptable
              biopharmaceutical development and manufacturing capabilities - the center is on track to meet
              its mission of bolstering the nation's preparedness and response to public health threats,
              whether in the form of a naturally occurring emerging infectious diseases or a bioloeical
              terrorist attack.

         4.   Texas A&M regents approve millions for building projects By Steve Kuhlmann
              steve.kuhlmann@theeagle.com Nov 11, 2016 2
              http://www.theeasle,com/news/local/texas-a-m-resents-approve-millions-for-buildins-
              proiects/a rticle f8b8364d-6426-5427-bbef-a887e89086da.     html
              Amongthe local   projects include the $76.5 million biocontainment research facility project -
              known as the Global Health Research Complex -- a $tO:.S million Medical Research and
              Education Building project at the Texas A&M University Health Science Center and a S17 million
              West Campus Support Building,


     October 12th, 2050 Mankind will cease to exist.




     Godspeed




     David Andrew Christenson
     Box 9063
    Miramar Beach, Florida 32550
    s04-71s-3086
    davidandrewchristenson@gma       il.com
    dchristenson6@ hotmail.com
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 36 of 64




     V70B Texas A&M dedicates national Katrina Virus vaccine manufacturing facility.
     http ://vo u!u. be/vAENY6XfF2w
     Food for thought as you read this article: it sounds as if they are developing vaccines for everything. The
     Katrina Virus is everything. The Katrina Virus has destroyed our immune systems. We have lost the
     ability to breath. They use the term "pneumonia deaths" to cover up the true cause of death.


     Cause of death: failure of the immune system          dueto its'destruction bythe Katrina Virus.

     Texas A&M dedicates national pandemic influenza (Katrina Virus) vaccine manufacturing facility, on
     track for 2016 start-up phase September 18,2074 by Holly Lambert
     https://news,tam hsc.ed u/?post=texas-a m-ded icates-natio na l-pa ndem ic-inf luenza-vaccine-
     m   an   ufactu rine-facilitv-on-track-fo r-2016-sta rt-u p-phase
     Texas Governor Rick Perry, Texas A&M University System Chancellor John Sharp, Texas A&M Health
     Science Center CEO Brett Giroir, M.D,, and officials from the U.S. Department of Health and Human
     Services (HHS), State of Texas and biopharmaceutical company GSKtoday dedicated a national
     pandemic influenza (Katrina Virus) vaccine manufacturing facility in Bryan, Texas, which when complete
     will serve                          A&M Biocorridor - a rapidly evolving hub of economic
                   as an anchor for the Texas
     development and scientific discovery that is swiftly positioning Texas as the third coast in biotechnology.


     When fully functional, the facility is expected to have the capacity to produce the bulk antigen needed
    for up to 50 million adjuvanted pandemic influenza vaccine doses within four months of          a declared
     influenza pandemic and availability of acceptable virus seeds.


     Disease outbreaks, such as the H5N1 avian influenza, HLNl influenza pandemic of 2009, and more
     recently the Ebola outbreak in West Africa, exposed the need for quick access to high-quality, life-saving
    vaccines and therapeutics, and the importance of reliable, U.S.-based vaccine development and
    manufacturing capabilities and expertise. After the President's Council of Advisors on Science and
    Technology report on reengineering the influenza vaccine manufacturing enterprise and the U.S.
    Department of Health & Human Services' medical countermeasures review, HHS' Biomedical Advanced
    Research and Development Authority (BARDA) embarked on new approaches to bolster pandemic
    influenza preparedness and biodefense.

    With the Texas A&M CIADM's advancement of the Pandemic lnfluenza Vaccine Facility and the Viral-
    based Vaccine Facility - along with the recent retrofit completion of the Texas A&M National Center for
    Therapeutics Manufacturing, which offers flexible and adaptable biopharmaceutical development and
    manufacturing capabilities - the center is on track to meet its mission of bolstering the nation's
    preparedness and response to public health threats, whether in the form of a naturally occurring
    emerging infectious diseases or a biological terrorist attack.
   Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 37 of 64
813012017 Gmail - This is one hell of a story. My brief to the Sth Circuit and two Notice(s) of Submission(s) to the Federal Court in New Orleans are attache..   .




             ,,"J   il- ! i;i ii                                     David Andrew Christenson <davidandrewchristenson@gmail.com>



  This is one hell of a story. My brief to the Sth Circuit and two Notice(s) of
  Submission(s) to the Federal Court in New Orleans are attached. "The Supreme
  Court Murdered Mankind" is also attached for reference. Look at the connection
  between Hurricane Katrina and Hurricane Harvey.
  David Andrew Christenson             <davidandrewchristenson@gmail.com>               Mon, Aug 28,2017 at 7:25 AM
  To: davidandrewchristenson@protonmail.com, americanjustice@protonmail.com, persimmonpublishing@protonmail.com,
  thereluctantpatriot@protonmail.com, federalcourts@protonmail.com, supremecourt@protonmail.com,
  supremecourt2@protonmail.com, Sthcourtno@protonmail.com, edlano@protonmail.com


     Take a minute and read this, it could possible open your eyes. Why is the Cajun Navy invited and allowed to help in
     Houston for Hurricane Harvey but they were turned away in New Orleans for Hurricane Katrina. I have Secret Grand Jury
     Testimony (now it is public record) that confirms what I am saying. Special Units of the US Military (which I was a part of)
     and Kenyon International Emergency Services (Google it) collected bodies and if they were contaminated they were
     burned and if not, they were turned over to the coroner. New Orleans is the Chemical Warfare Capital of the World.



     5 years after Katrina, storm's death toll remains a mystery Who died in Hurricane Katrina? Hundreds of names are still a
     mystery     and the death toll itself is subject of controversy LISE OLSEN, HOUSTON CHRONICLE Published 5:30 am,
               -
     Monday, August 30, 2010




    This is the first time in modern history that the US did not account for every American. lt is also the first time that the US
    did not want to account for every American.



    How could 50 plus cancers come out of a building? Why did those same 50 plus cancers not come out of New Orleans
    during Hurricane Katrina? Both had hardened CIA and DOD chemical warfare facilities and labs? Here is a perfect
    example of how corrupt our government is. They use the term "'14 categories" instead of saying 50 plus cancers.



    Page 1 of 2111091201207:07 AM

    US adds cancer to list of illnesses linked to 9111 terror attacks

    By NBC News and wire services

    September 11, 2012, 6:02 am NBCNews.com

    Updated at 5:15 p.m. ET: The federal government on Monday added 14 categories of cancer to the list of illnesses linked
    to the 9/11 terror attacks, which brings added coverage to rescue workers and people living near ground zero on Sept. 11,
    200'1. The National lnstitute for Occupational Safety and Health approved the additions to the list of illnesses covered in
    the James Zadroga 9i1 1 Health and Compensation Act, which were proposed in June. The updated regulations take
    effect 30 days after the ruling is published in the Federal Register.



    The US Government directed the national media to cover the Super Dome and the Convention Center so that they cor-rld
    clean up the dead contaminated bodies. The Convention Center sits on the Mississippi River. All people had to do was
    walk behind the building. The Super Dome is eight blocks away. Google Earih shows how close all New Orleans is to the
    River and the Lake.



https://mail.google.com/mail/u/0/?ui=2&ik=7d943782f9&jsver=PX1Y7GgZjW4.en.&view=pt&msg=15e28cd5d6tr116fB&search=serrt&siml=15e28cd5d6..                      1t4
   Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 38 of 64
8/3012017 Gmail - This is one hell of a story, My brief to the Sth Circuit and two Notice(s) of Submission(s) to the Federal Court in New Orleans are aitache.                                      ..

     Hurricane Katrina Facts: Chemical Warfare Contaminates (The Katrina Virus) escaped, due to negligence, into the
     environment and the US Military murdered Americans in violation of the US Constitution and Posse Act. The Federal
     Government had to wait five days to commence the rescue so the Katrina Virus could dissipate. President George W.
     Bush did not land Air Force One because he did not want to get infected. I flew support missions for Air Force One, the
     President, White House and the Secret Service so I know what I am talking about. Bush iold the world it was for security
     purposes and that was a lie. Belle Chase Naval Air Stations was fully operational and secure. I know because the Air
     Force First Special Operations Wing was there wiih friends of mine from the Air Force Academy.



     I called it the Redneck Navy but today it is called the Cajun Navy. All people had to do was walk to the Mississippi River
     or Lake Pontchartrain and they would be rescued, The Cajuns would arrive with beer and food. To them it is an adventure
     and adventures are to be fun,



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     Supreme Court Writ 14-10077 Supplemental Wrlt filed September 2nd,2015 titled "The Redneck Navy" Extraordinary
     Writ with Writ of Prohibition and Writ of Mandamus Writ Filed May 22nd,2015

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     Harvey: 'Cajun Navy' heads to Texas to aid rescues

     Greg Toppo, USATODAY Published 10:52 p.m. ET Aug. 27, 2017 | Updated 5:29 a.m. ET Aug. 28, 2017



    An informal network of good Samaritans with small watercraft is once again mobilizing                                                                          this time in the wake of
    unprecedented flooding in Houston.                                                                                                                         -
    Formed 12 years ago after Hurricane Katrina devastated New Orleans, the so-called Cajun Navy, which has saved
    thousands of stranded people, by some estimates, is already helping rescue stranded Texans, one member said Sunday.

    "There's no telling how many are already over there," said 39-year-old Joey Hains of Lafayette, La. "Basically everybody
    that's wanting to go help out" is going or has already arrived, he said.



                                                                                                                 14-10077

                                                                                                        September 2nd,2o15

                                                                                                        Supplemental Fifteen

                                                                                                          The Redneck Navy

                                                                   Extraordinary Writ with Writ of Prohibition and Writ of Mandamus

                                                                                                        Filed May 22nd,2015



    Iwill swear under oath that I knew nothing about the article, the book or the movie until today, September 2"d, 2015.
    Please reference August 22nd,2015 Writ 14-10077 SupplementalTenth The Perfect Military Weapon ls A Suicide
    Weapon (Katrina Virus) second paragraph last three lines which were written by me:



    "l say this with love and affection: "Every Redneck in South Louisiana has a boat." New Orleans is on a huge river with a
    huge lake on the north side. The Redneck Navy could have rescued everyone if asked or allowed."


https:/lmail.google.com/mail/u/0/?ui=2&ik=7d943782f9&jsver=PX1Y7GgZjW4..n.6u1sw=pt&mss=15e28cd5dGb116fB&search=sent&siml=1 5e28cd5d6..                                                        .   2t4
    Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 39 of 64
 813012017 Gnrail - This is one hell of a story. My brief to the Sth Circuit anci lwo Notice(s) of Submission(s) to the Federal Court in New Orleans are attache...

      How many people really died in New Orleans during the Hurricane Katrina time frame? The public number is roughly
      1800. Of those 1800 many of the bodies are unaccounted for. New Orleans is below sea level and bodies would flow
      into and not out of. Read Supplemental Tenth.



         real questions are h
     Virus and how manv were murdered bv the US Militarv?

      Greatest story never told: Acadiana boaters braved danger, arrest to rescue New Orleans-area residents trapped by
      Hurricane Katrina floods

     Rescuers from Acadiana braved danger, arrest to rescue N.O.-area residents trapped by Hurricane Katrina floods

     BILLY GUNN I i;rir:rrir(i                                            Sept. 02, 2015

     i 1 1.i.1.;;   ii y,'r11,,;" ii i i: i t.)iir,:.irlei

     Many more people would have died in the flood waters of Hurricane Katrina in 2005 if not for hundreds of south Louisiana
     folks who met at Acadiana Mall in Lafayette and then hauled their boats to New Orleans, where thev disreqarded
     authorities' orders to go back home because it was tao danaerous.

     The story of the citizen rescue, which unfolded over days in a devastated New Orleans, is told in a new documentary,
     "The Cajun Navy," directed by Academy Award-winning filmmaker Allan Durand, who teamed with film students at the
     University of Louisiana at Lafayette for the project.

     Durand on Tuesday told a few hundred people at the LITE Center in Lafayette that the caravan of boats and boaters who
     dropped everything to head east on lnterstate 10 ended up rescuing more than 10,000 people.

     Durand was among the guests celebrated at an event commemorating the rescuers and others who helped in the effort.

     Tuesday's event previewed a few minutes of the documentary, and also unveiled a new book that includes the story of the
     citizen boat rescues, "The Terrible Storms of 2005: Hurricane Katrina and Hurricane Rita," published byAcadian House
     Publishing in Lafayette.

     Among the guests Tuesday were former Gov. Kathleen Blanco, retired Army Gen. Russel Honor6 and the organizer of
     The Cajun Navy, Doug Bienvenu.

     Katrina made landfall Aug. 29, 2005. Many tens of thousands of New Orleanians and some in neighboring St. Bernard
     Parish did not or could not leave. ln New Orleans. hundreds drowned after levees built aleng two canals connected
     to Lake Ponchartrain gave way and flooded much of the city. fThis iS CIOSe tO where the Katrina
     Vi      rus warehouses were.]
     Many who sought safety in their attics beat holes in the roofs and climbed out to escape the rising water. They needed
     help badly, and it was with these people in the crucial first days after the storm that the boaters from Cajunland made their
     mark.

     At the time. government officials didn't or couldn't deploy rescue boats, which threw much of the responsibility
     on the shoulders of citizen rescuers who rode house to house. according to the film. [Why?]
     Brian Smelker. of Lafavette, said the caravan was stopped bv officers with Louisiana Department of Wildlife and
     Fisheries. who told them it was too danqerous to nroceed. Authorities also told them "we don't need you."fAfe
     you kidding? They were going to rescue our fellow Americans.l
     Smelker said that as he was beino told to turn back. he could see people on roofs who needed help. All the while.
     the soundof gunshots could be heard. he said. "lt was pretty obvious it was a serious situation." Smelker said.
     [The US Military was firing the weapons to keep people away.]
     While many of the boaters turned around and headed back home, many did not.

     Told he woutd so to                               iail if he didn't return home. he said, "Welt. it won't be the first time." [The SUpfeme
     Clourt protects this terrorist behavior by law enforcement.]
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    Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 40 of 64
 813012017 Gmail - This is one hell of a story. My brief to the Sth Circuit and two Notice(s) of Submission(s) to the Federal Court in New Orleans are attache.

     Bienvenu and his girlfriend, Drue Leblanc, who rode alongside him in his airboat, ended up rescuing hundreds of people
     over three days.




     Sincerely filed,

      ln Proper Person and Pro Se,




     David Andrew Christenson

     Box 9063

     Miramar Beach, Fl. 32550

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                                                                                     CERTIFICATE OF SERVICE

                               I hereby certify that on Septembe r znd, 20151 filed the foregoing with the Clerk of Couft and

                                                      served the pleading on all counsel of record by e-mail including:

                                                                              Solicitor General Donald B. Verrilli Jr.

                                                               Counsel of Record United States Department of Justice

                                                                                  950 Pennsylvania Avenue, N.W.

                                                                                    Washington, DC 20530-0001

                                                                                             ,            , (202) 514-2217




                                                                                       David Andrew Christenson




      4 attachments
            Brief.docx
      "'1 29K
      i{} Cantrell        217 cv 06197 Notice of Submission Second.pdf
       'fr 4g4K
      61    Gantrell 215 cv OM79 Notice of Submission Second.pdf
       "    494K

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Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 41 of 64




    Trump v. Twitter, lnc (1:21-cv-2244L) District Court, S.D. Florida Judge Robert Nichols Scola Jr.
    Friend of Court Brief filed by David Andrew Christenson October 7th, 2021.


                                                     Friend of Court Brief   !
    Judge Scola,


    Judges are censored.


    You are censored.


    Attachment 1: Standage v. Braithwaite (1:20-cv-02830) District Court, D. Maryland Judge Ellen Lipton
    Hollander Case L:20-cv-02830-ELH Document 33 Filed 7Ll30l2O 50 pages. One pages one and two are
    attached.

    Attachment 2: Alters v. People's Republic of China (l:20-cv-21108) District Court, S.D. Florida Judge
    Ursula Mancusi Ungaro Case 1:20-cv-21108-UU Document 49 Entered on FLSD Docket 061L6/2020 - L6
    pages. Only pages one and two are attached.


    Attachment 3: Aharon v. Chinese Communist Party (9:20-cv-80604) District Court, S.D. Florida Judge Roy
    Kalman Altman




     Miramar Beach, Florida 32550
     504-715-3086
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  Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 42 of 64
                                                  Document      33 Filed 1L130/20 Page 1 of 2
Atta C h m 8Tft',t-cv-02830-ElH
       Standage v. Braithwaite (1:20-cv-02830) District Court, D. Maryland Judge Ellen Lipton Hollander
       Movant David Andrew Christenson    -   United States Air Force Academy Class of 1982


                 Third Motion for Leave to file a Supplemental Friend of the Court Brief/Amicus Brief

                                                          And


                                                    Motion to Docket


                                                       CenrcrthiP

       Judqe Hollander vou are censored. The Executive Branch censors a Federal Judge. Court Listener is a
       501(cX3) non-profit that is controlled by the Department of Justice. Attachment 1 is the Court Listener
       Docket from this morning: November 19th, 2020 at 8:L0 AM EST. Constitutionally the Court Listener
       docket should be a duplicate of your official court docket that ca n be found on Pacer, Attachment 2 is
       the Pacer docket from this morning: Nrvember 19th, 2O2O at 8:14 AM EST. The Court Listener docket has
       been censored and does not duplicate your docket, TH-EY CENSORED YOU.
   .
       The Court Listener docket was last updated November 19th, 2O2O at 6:08 AM EST. lt shows the date of
       .the last known filing to be November 18th, 2020, The last docket entry shown is #26 on November 10th,
       2020. Docket #27 and #28 are not shown.


       My first Motion was docket #L8 on November 4th,2O2O. The narrative for that entry was just the word:
   *   "Memorondum".The docket entry was corrected by Court Listener with todayls update.

       Court Listener has a huge following because you can access court documents for free and receive alerts.

       Attachment 3: CDC FluView Report Week 45, ending November 7th,2020

       Attachment 4: Pneumonia, lnfluenza and COV|Dlg Mortality Surveillance from the National Center for
       Heatth Statistics Mortality Surveillance System Data through week ending November 7th, 2020 as of
       November 12th,2O2O



       ATTACHMENT 5: KILL ME NOW                                                  - THE
        PANDEMIC HAS WON AN EMMY.
       GOVERNOR CUOMO IS BEING GIVEN AN
       EMMY FOR TURNING THE PANDEMIC INTO
       A REALITY TV SHOW.
 Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 43 of 64
                                                            Document    33   Frted   1.1t30t20 Page 2 of    2
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       Box 9063
       Miramar Beach, Florida 32550
       504-715-3086
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       dch risten so n6@ hgtm   ai   l.




                                                                      OF SERVICE
             I hereby certify   that on                                       foregoing with the Clerk of Court and
                        served                                                  Einail and first-class mail.


                                                          David Andrew Christenson
 Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 44 of 64
    Casq L:?O-cv-2LL08-UU Document 49 Entered on FLSD Docket OO|LO|Z)ZO Page 1 of 16
Attach ment 2
                                                                                                     .FILED
     Alters v. Peoples Republic of China (t:20-cv-21108) District Court, S.D. Florida Judge          ungar0
     Federal Court - 400 North Miami Avenue - Room 12-4 - Miami, Florida 33128
     Movant David Andrew Christenson                                                                      JUN I 6     2020

     June 1.3th,2020                                                                                       ANGELA E. NOBLE
                                                                                                          CLERK U.S. DIST. CT.
                                                                                                          S. D. OF FLA.. MIAMI

     Twenty-First Amicus    -   lf I was wrong why would the Department of Justice go to such drastic lengths to
                                                       CENSOR me?


     The Plaintiffs should be suing the United States. Very simple depositions from the Director of the ClA,
     Secretary of Defense, Director of the NIH and Director of the CDC would verify that I am correct.
     Remember that 60 plus cancers (14 categories) came out of the World Trade Centers on 911 which is
     confirmed by the Federal Registry, (see attached article)

     The Complaint is frivolous and without merit if the United States is not added. The Complaint is
     unwinnable and a waste of the Court's time and resources.

     Compare the Court Listener docket (attached)from Friday June 12'h 2020 at 5:05 PM EST to the official
     court docket (attached). Court Listener intentionally omitted/CENSORED docket items 4, 6, 8, 9, t0,11,
     1.2and 13. Somebody had to manually do the censoring. There are no docket entries or narratives, Court
     Listener monitors thousands of cases and the transfer of data (copying of data) is automatic,


           ouR cHlrpREN   ARE THE ONES THAT     WtLt   PAY THE pRtCE AND ! TOOK AN OATH NOT TO LET THAT
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     Free Law Project is a Colifornia non-profit public benefit corporotion ond a federolly-recognized 501(c)(3)
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     of the generol public ond the public interest;
     To develop, implement, ond provide public occess to technologies usefulfor legol reseorch;
     To create on open ecosystem   for legol reseorch ond materials;
     To support ocademic reseorch on reloted technologies, corporo, and legal systems; and
     To carry on other charitoble dctivities associdted with these purposes, including, but not limited to,
     publications, meetings, conferences, troinings, educotionol seminars, and the issuance of gronts ond
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     ln 2073, Free Law Project joined the Free Access to Low MovemenL


                                               Filed in the following cases:
 Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 45 of 64
- Case L:20-cv-2L108:UU Document 49 Entered on FLSD Docket 0611612020 Page 2 of 16
Attach ment 2
        1.   United States v. Boucher (1:18-cr-00004) District Court, W,D. Kentucky Judge Marianne O.
             Battani Federal Court - 231 W. Lafayette Blvd., Room 252 - Detroit, M148226
        2.   United States v. Flynn (1:17-cr-00232) District Court, District of Columbia Judge E. Sullivan
             Federal Court - 333 Constitution Ave. N.W. - Washington D.C. 20001
        3.   United States v. Stone (1:19-cr-00018) District Court, District of Columbia Judge A. Jackson
             Federal Court - 333 Constitution Ave. N.W. - Washington D.C. 20001
        4.   Greco v. Peoples Republic of China (5:20-cv-02235) District Court, E.D. Pennsylvania Judge Anita
             Blumstein Brody Federal Court - 601 Market Street - Philadelphia, PA 19105
        5.   Patella v, Peoples Republic of China (1:20-cv-00433-TDS-JEP) District Court, M.D. North Carolina
             Judge Thomas D. Schroeder FederalCourt - 251 N. Main Street - Winston-Salem, NC        2lL0L
        6.   Benitez-White v. Peoples Republic of China (4:20-cv-01.562) District Court, S.D. Texas Judge
             Ewing Werlein Jr. Federal Court - 515 Rusk Street - Houston, TX77002
        7.   State of Mississippi v. People's Republic of China (1:20-cv-00168-LG-RHW) District Court, S.D.
             MississippiJudge Louis Guirola Jr, Federal Court - 2012 15th Street - Suite 814 - Gulfport, MS
             39501
        8.  Azelea Woods of Ouachita v. Peoples Republic of China (3:20-cv-00457-TAD-KLH) District Court,
            W.D. Louisiana Judge Terry Alvin Doughty Federal Court - 20l Jackson Street - Suite 215 -
            Monroe, Louisiana 7 t2O1-
        9. Edwards v. Peoples Republic of China (2:20-cv-01393) District Court, E,D. Louisiana Hon N. V.
            Jolivette Brown Federal Court - 500 Poydras Street - New Orleans, LA 70130
        10. State of Missouri v. Peoples Republic of China (1:20-cv-00099) District Court, E,D. Missouri Judge
            Stephen Limbaugh - Federal Court - 555 lndependence Street - Cape Girardeau, MO 63703
        11, Alters v, Peoples Republic of China (1:20-cv-21108) District Court, S.D. Florida Judge Ursula
            Ungaro Federal Court - 400 North Miami Avenue - Room 12-4 - Miami, Florida 33128
        12. Bella Vista LLC v. The Peoples Republic of China (2:20-cv-00574) District Court, D. Nevada Judge
            James C. Mahan - Federal Court - 333 S. Las Vegas Blvd - Las Vegas, NV 89101
        13, BuzzPhotov.PeoplesRepublicofChina(3:20-cv-00656)DistrictCourt,N.D.TexasJudgeEd
            Kinkeade Federal Court - 1100 Commerce St. - Room 1625 - Dallas, fexas75242
        14. Cardiff Prestige Property, lnc. v. Peoples Republic of China (8:20-cv-00683) District Court, C.D.
            California Judge David O. Carter - Federal Court - 411 West Fourth St. - Courtroom 9D - Santa
             Ana, CA,927Ot
        15. Bourque   CPA s & Advisors v. The Peoples Republic of China (8:20-cv-00597) District Court, C.D.
            California Judge R. Gary Klausner - Federal Court - 255 East Temple Street - Los Angeles, CA
            90012
        16. Aharon v. Chinese Communist Party (9:20-cv-80604) District Court, S.D. Florida Judge Roy K.
            Altman Federal Court - 299 East Broward Blvd. - Fort Lauderdale, Fl. 33301
        17. Smith v. Chinese Communist Party (2:20-cv-01958) District Court, E.D. Pennsylvania Judge Anita
            B. Brody Federal Court - 601 Market Street - Philadelphia, PA 19106
        L8. United States v. Flynn (7:77-cr-OO232) District Court, District of Columbia Judge john Gleeson
            Debevoise & Plimpton LLP - 919 Third Avenue - New York, New York 10022
        19. United States v, Flynn (1:17-cr-00232) District Court, District of Columbia Attorney Beth
            Wilkinson - 2OO7 M Street N.W. - 10th Floor - Washington, D.C. 20036
        20, United States v. Manning (1:19-dm-00012) District Court, E.D. Virginia Judge Anthony John
             Trenga FederalCourt - 40l Courthouse Square - Alexandria,     VA223t4
 Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 46 of 64

Attach ment 3
                                                                            Florida Judge Roy K' Altman
     Aharon v, Chinese Communist Party (9:20-cv-80604) District Court, S'D,
     FederalCourt - 299 East Broward Blvd. - Fort Lauderdale, Fl' 33301
     Movant David Andrew Christenson
     June 13th, 2020


      Twenty-First Anricus   -   If I was wrong why would the Department of Jusiice go to such drastic lengths to
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     The plaintiffs should be suing the United States, Very simple depositions from the Director
     Secretary of Defense, Director of the NIH and Director of the CDC would verify that I am correct'
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     court docket (attached). Court Listener intentionally ornitted/CENSORED docket
     12 and L3. somebody had tO rnanually do the censoring. There are no docket entries
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       pubtic charity whose specific purposes ore primarily: To provide t'ree, public, ond
                                                                                                        access
                                                                                            purposes ta the benefit
       primary legal materials on the tnternet for educational, choritabte, and scientilic
      of the generol public and the public interest;
      To develop, implentent, and provide public access to technologies useful for legal
                                                                                             research;
       Ta create on open ecosystem for tegat teseorch    and materiols;
                                                                                                and
       To support academic research on related technologiest corpora, and legal systems;
       Ta carry on other charitable activities associated with these purposes, including,
                                                                                            but not limited to,
       publiCations, meetings, conferences,   troinings, educotional seminQrs, ond the issuance af gronts and
                                                                                    organizations exclusively for
        other financial support to educationol institutions, foundations, and other
        educationol, charitable, ond scientific purposes as allowed by  law'
       ln 2013, Free Low Proiect ioined the Free Access to Low Movement'

                                                 Filed in the following cases:
 Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 47 of 64

Attach ment 3
        1.      United States v, Boucher (1:L3-cr-00004) District Court, W.D. Kentucky Judge Marianne O.
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                Battani Federal Court' 231 W. Lafayette Blvd,, Room 252 Detroit, Ml 48226
        Z.      United States v. Flynn (t:L7-cr-00232) District Court, District of Colurttbia Judge E. Sullivan
                Federal Court - 333 Constitution Ave. N'W. - Washington D.C. 20001
        3.      United States v, Stone (1:19-cr-00018) District Court, District of Columbia Judge A. Jackson
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                Judge Thomas D. Schroeder Federal Court - 251 N. Main Street - Winston-Salem, NC 27L01,
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                Ewing Werlein Jr. Federal Court - 5L5 Rusk Street - Houston, TxTT1OZ
        7   ,   State of Mississippi v. People's Republic of China (1:20-cv-00168-LG-Rl1W) District Court, S.D'
                Mississippi Judge Louis Guirola Jr. Federal Court - 2012 15th Street - Suite 814 - Gulfport, MS
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              Monroe, Louisia na 7 1201-
        g.    Eclwards v. peoples Republic of China (2:20-cv-01393i District Court, E.D. Louisiana Hon N. V.
              Jolivette Brown Federal Court - 500 Poydras Street - New Orleans, LA 70L30
                                                                                                             judge
        1O. State of Missouri v. Peoples Republic of China (L:20-cv-00099) District Court, E.D. Missouri
              Stephen Lirnbaugh - FederalCourt - 555 lndependence Street - Cape Girardeau, MO 63703
        j.l-. Alters v. Peoples Republic of China (1:20-cv-21.108) District Court, S,D, Florida Judge Ursula
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            16. Aharon v. Chinese Communist Party (9:20-cv-80604) District Court, S.D. Florida Judge Roy K'
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            j-7. Smith v. Chinese Communist Party (2:20-cv-01958) District Court, E.D. Pennsylvania Judge Anita
                 B. Brody Federal Court - 601 Market Street - Philadelphia, PA 19L06
            1g. United States v. Flynn (1-:L7-cr-00232) District Court, District of Columbia Judge John Gleeson
                 Debevoise & Plimpton LLP - 919 Third Avenue - New York, New York 1-0022
            j.9. United States v, Flynn (L:17-cr-00232) District Court, District of Columbia Attorney Beth
                Wilkinsorr - 2001 M Street N.W. - 10th Floor - Washington, D'C' 20036
            20. United States v. Manning (1,:19-dm-00012) District Court, E'D' Virginia Judge Anthony
                                                                                                      John

                Trenga Federal court - 401 Courthouse square - Alexandria, vA'22314
 Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 48 of 64

Attachment                              3
               2   j.. United States v. Snowden (1:19-cv-01197) District Court, [.0. Virginia Judge Liam O'6rady
                   FederalCourt - 401Courthouse Square - Alexandria, VA2231'4
               22. United States v. Snowden {1:13-cr'265)) District Court, E,D. Virginia Senior Judge Claude M.
                   Hilton Federal court - 401 courthouse square - Alexandria, v A2231'4
               23. United States v. Winner (1:17-cr-00034) District Court,          S.D. Georgia Judge James Randal Hall

                   Federal Court - 600 James Brown Blvd. - Augusta, GA 30901"
               24, United States v. Assange (L;18-cr-0011l") District Court, E.D. Virginia Senior Judge Claude M.
                   Hilton FederalCourt - 401" Courthouse Square - Alexandt'ia, VA223L4
               25. tn re: Michael Flynn (20-5143) Court of Appeals for the D.C. Circuit Clerk Mark Langer U' S'
                   Appeals court D.c. - 333 Constitution Ave. N,w, - washington D.c. 20001
               26. ln re: Reality Winner l11-1-tlgzl Court of Appeals for the 11tr' Circuit Clerk David Smith Appeals
                   Court 11th Circuit - 56 Forsyth St,, N'W' - Atlanta, Georgia 30303
               27. Center for Democracy & Technology v. Trump (1:20-cv-01456) District Court, District of
                   Columbia Judge Trevor Neil McFadden - Federal Court - 333 Constitution Ave. N.W. -
                   Washington D.C.20001
               28. McCarthy v. Pelosi (L:20-cv-0L395-RC) District Court, District of Columbia Judge Rudolph
                   Contreras - Federal Court - 333 Constitution Ave. N.W. - Washington D.C. 20001


       Godspeed
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     , :a'-... -,,
        David Andrew Christenson
        Box 9063
        Miramar Beach, Florida 32550
        504-715-3086
        davidandrewchristenson@gma                    il.com;
        dchristenson6@ hotmail.com;

                                                                CERTIFTCATE OF SERVICE


                             I hereby certify   that on                          foregoing with the Clerk of Court and
                                    served the                                              and first-class mail.



                                                                David Andrew Christenson
  Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 49 of 64
u1312A20                                                     A,HARON v. CHINESE COMMUNIST PARTY. 9;20-cv-80604                    -   Courtlistener.com


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  Laet Updated: June 12, 2040, 5106 p.m. EDT

  Assigned To: Roy Kalman Altman (/person/8660/roy-kalman,altmani)

  Referred To: Davo L6e Brannon (lperson/9169/davs-16€"brannon/)

  Date Filed: April 7, 2020

  Dats of Last Known Filing: June 9. 2020

  Cause: 28:1332 Diverslty (/?type=r&causo='28:1332              Diversity")

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                        Date   Filed                                     Descrlption
                        Apr B,  2020                                     COMPLAINT againsi All Defendants. Filing fees $ 400.00 rec€ipl number AFLSDC'1 2712730, filed by
                                                                         ROSANNA CARUSO, MORIAH AHARON, DAMON J DETE$O, JORDAN G KUPPINGER'
                                                                         CHRTSTOPHER PAYTON. (Attachments: # 1 Civll Cov6r Sh6et CIVIL COVER SHEET, # 2 Summon(s)
                                                                         Summons Repub of China, # 3 Summon(s) Summons Chlnoso Comm PsrtyxMoor€, Malthsw) (Entered
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                        Apr 8, 2020                                      Clerk's Notice of Judge Assignment and 0ptional Coflsent

               2        fur 8,2020                                       Clerks Notico ofJudge Assignment to Judgo Roy K. Altman and Magistrate Judge DaVe Lee Brannon.
                                                                         Pursuant to 2S USC 636(c), the partles ure hereby notified that the U.S. Magi6trato Judge Dave Lee
                                                                         Brannon is available to hancile any or all proceedings in this case. ll agr66d, parties should complete and

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  Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 50 of 64
6/13/2020                                          AHARON v. CHINESE COMMUNIST P,ARTY 9.20"cv-80604 * CouriListener.cont
                                                            flle the Consent form found on our wobsitc. lt is not nccessary to file a documont indicating lack of
Attach ment 3                                               consont. Pro ss (NON-PRISONER) litigants rnay receive Noticos of Eloctronic Filittgs (NEFS) via email
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                                                            consent fcrm is available under the fornls section of our vretJsite. (tril) (Entered: 4410812024)

                                                            Main Doc                         Clerk's Notice of Judge Assigntnont

        3         Apr 8, 2020                               Summons lssuod as to CHINESE COMMUNIST PARTY pEOPLE'S REPUBLIC OF CHINA. (Attachrnents:
                                                            # 1 Summon(s))(ail) (Enlered: 04/0812020)

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       14           Jun12,2020                               Main Doc                        - Order (PAPERLESS or pdf attached)

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Attachment                                   3      U.S. District Court
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                                      Southern District of Florida (West Palm Beach)
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 Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 53 of 64

Attafihm-enkre                           lrnesses rinked        to enL terror attacks
   81'.\B(':\ex,s and tire services
   Septemher I 1.101!,6:01 atil                                                                                     NBflNcws.com




  Updated at 5:15 p.m. ET: The fbderal government on Monday added l4 categorics of cancer to the list of illnesses
  linked to the 9/l I terror attacks. rvhich brings added coverage to rescue workers and people living near ground
  zero on Sept. I 1.2001.

  The National Institute tbr Occupational Safety and Health approved the additions to the list ol'illnesses covered in
  the James Zadroga 9lll tlealth and Cornpensation Act" which were proposed in.lune.'l'he upclated regulations
  take effbct 30 days after the ruling is published in the Federal Register,

  Sce more on this story on NllCNewYork.com

  l'he decision "marks an important step in the effort to provide needed treatment and care to 9/l I responders and
  survivors." said Dr. John Ilorvard. adrninistrator of the World'li'ade C-'enter Health Program established by thc
  Zadroga law.

  The Zadroga Act      narned after NYPD Detective Janres 7,adraga. who died at age 34 after working at ground
  zero *.                -
          was signed into law nearly two yoars ago. Despite thc hundreds of sick re sponders. the act did not cover
  cancer because of a supposed lack of scientific eviderrce linking cancer to ground zero toxins.

  "We are gettillg sick in record numbers," said Ray Pfeiffer. a first responder who was diagnosed three years ago
  with kidney cancer. t'le said it has been a struggle to pay for expensivc medications not fully covered by his
   insurance.

   "lt's f'antastic news." he said of the expanded list of covered illnesses.

  About 400 residents and rescue workers have died from cancer since 9/l l. according to the New York Post.

   With cancer included in the program morc victims are likely to seek compensation" which could cause individual
   awards to be reduced as officials divide up the $2.77 billion fund.


   "'lheyore going to add cancers. but are they going to add more money to the fund?" Thomas "T.J." Cilmartin" who
   suflbrs from lung disease and sleep apnea. said to the Post. "lt's crazy. Every time. we gona fight. It's two years
   sittuu ()trutttu signutl tlrut trill, urxl rrubtrd;r "o gut lO vurttu"'

   "We fought long and hard to make sure tliat our 9/l I heroes sufl'ering           tiott   cancers obtained fiom their work at
   ground zcro get the help they deserve." U.S. Senators Kirsten Gillibrand and Charles E. Schurner. both of New
   York. said in a statement. "Today's annouucement is a huge step forward that will providc.iustice and support to str
   many who are now suffering from cancer and other illnesses, We will press on - with advocates, the community.
   and our pa(ners in government - to ensure that all those who suff?rred harm from 9/l I and its afterrnath get the
   access to the program they so desperately need."



                                                        Last week. the Nerv York Cit1, [rire Dcpartrnetrt adclecl nitre tlan:es tit
                                                        the 55 alrcacli,'elcheclon a rvallltttttoting mcnlbers who have died ol
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                                                                                ft Sorne estimates    put the overall death toll from 9/l l-related illness at
                                                                                     ,rror* than 1,000. according to Reuters. At least 20"000 ground zero
                                                                                     workers are being tteated across the country and 40.000 are boing
                                                                                     monitored by the World'lrade Center Ilcalth Program. Reuters
                                                                                     reported.

                                                                                     'l"uesday marks the I              lth anniversary ol'the 9/l I terror attacks.

                                                                                     Last thll. the September I I Memorial at ground zero frrrally opened in
                                                                                     the footprints of the original towers. Since then. more than 4 rnillion
                                                                                     people have visited.
                              r.3
                                                                                     l.'inancial. security and design setbacks liave de layed tlre redevelopment
     I amilt' photo lia ill' Dai{r',\errr' rlP lti le h lhis
   undoled-filc phokr. $etr i'ort f i6' ltttlice Del. Jttmes                         of the World Tlade Center in the past decade' A recent project audit
      7-utlrog,:l leJi, holds his datghter T'"vlerann. l'ift1'                       indicates that overall site redevelopment c<lsts have grown to nearly $ I 5
   concers \till hc added n the htdroga .4c!. rt'ijci tlrt't
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    nanetl a-fter the detediw--vho clied oJ'resPirakn'.r:
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                                                                                     One World Trade Center is ncaring completion and is expected to open
  in 2014.

 NIlCNervYork.com's Brynn (iingras and Rettters contributcclto this rsport.

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10/7/21,       1:21-cv-22441-RNS
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                                                                 ., 4:21-cv-01774         Docket 10/08/2021 Page 55 of 64
                                                                                  – CourtListener.com



   . (4:21-cv-01774)
   District Court, S.D. Texas
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      View on PACER (https://ecf.txsd.uscourts.gov/cgi-bin/DktRpt.pl?1830373)

   Last Updated: Oct. 7, 2021, 5:09 a.m. CDT

   Assigned To: Lynn Nettleton Hughes (/person/1550/lynn-nettleton-hughes/)

   Date Filed: June 1, 2021

   Date Terminated: June 12, 2021

   Date of Last Known Filing: Oct. 6, 2021

   Cause: 28:1442 Notice of Removal (/?type=r&cause="28:1442 Notice of Removal")

   Nature of Suit: 790 Labor: Other (/?type=r&nature_of_suit="790 Labor: Other")

   Jury Demand: None (/?type=r&q=juryDemand:"None")

   Jurisdiction Type: Federal Question

      Docket Entries (/docket/59953190//)         Parties and Attorneys (/docket/59953190/parties//)


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    Documents
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                   Date Filed                               Description
          1        Jun 1, 2021                              NOTICE OF REMOVAL from 457th Judicial District Court of Montgomery County, Texas, case number 21-
                                                            06-07552 (Filing fee $ 402 receipt number 0541-26523839) filed by Houston Methodist Hospital, Houston
                                                            Methodist The Woodlands Hospital. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Patton,
                                                            Daniel) (Entered: 06/01/2021)

                                                            Main Doc                      Notice of Removal
                                                            (/docket/59953190/1//)

                                                            Att 1                         Exhibit
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                                                            Att 3                         Exhibit
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                                                            Att 4                         Exhibit
                                                            (/docket/59953190/1/4//)

          2        Jun 3, 2021                              NOTICE in a Removed or Transferred Case (Signed by Judge Lynn N Hughes) Parties notified.
                                                            (ClaudiaGutierrezadi, 4) (Entered: 06/03/2021)

                                                            Main Doc

          3        Jun 3, 2021                              Order: Initial Conference set for 7/1/2021 at 03:00 PM in Room 11122 before Judge Lynn N Hughes.
                                                            (Signed by Judge Lynn N Hughes) Parties notified. (ghassan, 4) (Entered: 06/03/2021)

                                                            Main Doc                      Order Setting Conference

          4        Jun 3, 2021                              Order: Hearing set for 6/4/2021 at 10:30 AM at Courtroom 11C before Judge Lynn N Hughes. (Signed by
                                                            Judge Lynn N Hughes) Parties notified. (ghassan, 4) (Entered: 06/03/2021)

https://www.courtlistener.com/docket/59953190/bridges-v-houston-methodist-hospital/                                                                                       1/5
      Case
10/7/21,       1:21-cv-22441-RNS
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                                                          ., 4:21-cv-01774         Docket 10/08/2021 Page 56 of 64
                                                                           – CourtListener.com
                                                    Main Doc                    Order Setting Hearing

        5        Jun 3, 2021                        Order Resetting Hearing. Hearing reset for 6/4/2021 at 02:00 PM at Courtroom 11C before Judge Lynn N
                                                    Hughes. (Signed by Judge Lynn N Hughes) Parties notified. (ghassan, 4) (Entered: 06/03/2021)

                                                    Main Doc                    Order Resetting Hearing

        6        Jun 4, 2021                        Opposed MOTION for Temporary Restraining Order by all plaintiffs, filed. Motion Docket Date 6/25/2021.
                                                    (Attachments: # 1 Exhibit Methodist Experimental Vaccine Policy, # 2 Exhibit 21USC360bbb, # 3 Exhibit
                                                    CDC 10/30/20 Outline, # 4 Exhibit Letter from Dr. Boom, # 5 Exhibit $1,000 Bonus Email)(Woodfill, Jared)
                                                    Text modified on 6/11/2021 (ghassan, 4). (Entered: 06/04/2021)

                                                    Main Doc                    Temporary Restraining Order
                                                    (/docket/59953190/6//)

                                                    Att 1                       Exhibit Methodist Experimental Vaccine Policy
                                                    (/docket/59953190/6/1//)

                                                    Att 2                       Exhibit 21USC360bbb
                                                    (/docket/59953190/6/2//)

                                                    Att 3                       Exhibit CDC 10/30/20 Outline
                                                    (/docket/59953190/6/3//)

                                                    Att 4                       Exhibit Letter from Dr. Boom
                                                    (/docket/59953190/6/4//)

                                                    Att 5                       Exhibit $1,000 Bonus Email
                                                    (/docket/59953190/6/5//)

        7        Jun 4, 2021                        Amended MOTION for Temporary Restraining Order by all plaintiffs, filed. Motion Docket Date 6/25/2021.
                                                    (Attachments: # 1 Exhibit Methodist Experimental Vaccine Policy, # 2 Exhibit 21USC360bbb, # 3 Exhibit
                                                    CDC 10/30/20 Outline, # 4 Exhibit Letter from Dr. Boom, # 5 Exhibit $1,000 Bonus Email)(Woodfill, Jared)
                                                    Text modified on 6/11/2021 (ghassan, 4). (Entered: 06/04/2021)

                                                    Main Doc                    Temporary Restraining Order
                                                    (/docket/59953190/7//)

                                                    Att 1                       Exhibit Methodist Experimental Vaccine Policy

                                                    Att 2                       Exhibit 21USC360bbb

                                                    Att 3                       Exhibit CDC 10/30/20 Outline

                                                    Att 4                       Exhibit Letter from Dr. Boom

                                                    Att 5                       Exhibit $1,000 Bonus Email
                                                    (/docket/59953190/7/5//)

        8        Jun 4, 2021                        Minute Entry for HEARING held before Judge Lynn N Hughes on 6/4/2021. Order to be entered.
                                                    Appearances: Jared Woodfill, Daniel Patton, Michael Twomey, Andrew Barber, Brooke Jones. (Court
                                                    Reporter: F. Warner) (ghassan, 4) (Entered: 06/04/2021)

                                                    Main Doc                    Miscellaneous Hearing
                                                    (/docket/59953190/8//)

        9        Jun 4, 2021                        ORDER to Move. By 6/8/2021, Houston Methodist Hospital may move dispositively. By 6/10/2021, the
                                                    plaintiffs may respond. Hearing on the motion set for 6/11/2021 at 01:30 PM in Courtroom 11C before
                                                    Judge Lynn N Hughes. (Signed by Judge Lynn N Hughes) Parties notified. (ghassan, 4) (Entered:
                                                    06/04/2021)

                                                    Main Doc                    Order
                                                    (/docket/59953190/9//)

       10        Jun 4, 2021                        ORDER Denying Temporary Restraint terminating 6, 7 . (Signed by Judge Lynn N Hughes) Parties
                                                    notified. (ghassan, 4) (Entered: 06/07/2021)

                                                    Main Doc                    Order
                                                    (/docket/59953190/10//)

       11        Jun 8, 2021                        MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by The Houston Methodist Hospital, filed.
                                                    Motion Docket Date 6/29/2021. (Patton, Daniel) (Entered: 06/08/2021)

                                                    Main Doc                    Dismiss for Failure to State a Claim
                                                    (/docket/59953190/11//)

       12        Jun 10, 2021                       AMENDED PETITION against All Defendants filed by all plaintiffs. (Attachments: # 1 Exhibit, # 2 Exhibit, #
                                                    3 Exhibit, # 4 Exhibit, # 5 Exhibit)(Woodfill, Jared) Text modified on 6/11/2021 (ghassan, 4). (Entered:
                                                    06/10/2021)

                                                    Main Doc                    Amended Complaint/Counterclaim/Crossclaim etc.
                                                    (/docket/59953190/12//)

                                                    Att 1                       Exhibit

                                                    Att 2                       Exhibit

https://www.courtlistener.com/docket/59953190/bridges-v-houston-methodist-hospital/                                                                              2/5
      Case
10/7/21,       1:21-cv-22441-RNS
         9:31 AM                             Document 66 Entered      on FLSD
                                                          ., 4:21-cv-01774         Docket 10/08/2021 Page 57 of 64
                                                                           – CourtListener.com

                                                    Att 3                         Exhibit

                                                    Att 4                         Exhibit

                                                    Att 5                         Exhibit
                                                    (/docket/59953190/12/5//)

       13        Jun 10, 2021                       Opposed RESPONSE in Opposition to 11 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM,
                                                    filed by all plaintiffs. (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4
                                                    Exhibit Exhibit 4, # 5 Exhibit Exhibit 5, # 6 Exhibit Exhibit 6)(Woodfill, Jared) Text modified on 6/11/2021
                                                    (ghassan, 4). (Entered: 06/10/2021)

                                                    Main Doc                      Response in Opposition to Motion
                                                    (/docket/59953190/13//)

                                                    Att 1                         Exhibit Exhibit 1

                                                    Att 2                         Exhibit Exhibit 2

                                                    Att 3                         Exhibit Exhibit 3
                                                    (/docket/59953190/13/3//)

                                                    Att 4                         Exhibit Exhibit 4
                                                    (/docket/59953190/13/4//)

                                                    Att 5                         Exhibit Exhibit 5

                                                    Att 6                         Exhibit Exhibit 6

       14        Jun 11, 2021                       AMENDED 11 MOTION( Motion Docket Date 7/2/2021.), MOTION TO DISMISS FOR FAILURE TO STATE
                                                    A CLAIM by The Houston Methodist Hospital, filed. (Patton, Daniel) (Entered: 06/11/2021)

                                                    Main Doc                      Dismiss for Failure to State a Claim AND
                                                    (/docket/59953190/14//)       Amended Motion

       15        Jun 11, 2021                       MOTION to Strike 13 Response in Opposition to Motion, by The Houston Methodist Hospital, filed. Motion
                                                    Docket Date 7/2/2021. (Attachments: # 1 Proposed Order)(Patton, Daniel) (Entered: 06/11/2021)

                                                    Main Doc                      Strike
                                                    (/docket/59953190/15//)

                                                    Att 1                         Proposed Order

       16        Jun 11, 2021                       SUPPLEMENT to Emergency Motion for Temporary Restraining Order by all plaintiffs, filed. (Attachments:
                                                    # 1 Exhibit, # 2 Exhibit)(Woodfill, Jared) Text modified on 6/11/2021 (ghassan, 4). (Entered: 06/11/2021)

                                                    Main Doc                      Supplement
                                                    (/docket/59953190/16//)

                                                    Att 1                         Exhibit
                                                    (/docket/59953190/16/1//)

                                                    Att 2                         Exhibit
                                                    (/docket/59953190/16/2//)

       17        Jun 11, 2021                       Minute Entry for proceedings held before Judge Lynn N Hughes. MOTION HEARING held on 6/11/2021.
                                                    Order to be entered. Appearances: Jared Ryker Woodfill, Daniel Patton, Michael Twomey, Andrew Barber,
                                                    Brooke Jones. (Court Reporter: Lanie Smith), filed.(bthomas, 4) (Entered: 06/12/2021)

                                                    Main Doc                      Motion Hearing
                                                    (/docket/59953190/17//)

       18        Jun 12, 2021                       ORDER ON DISMISSAL. (Signed by Judge Lynn N Hughes) Parties notified.(bthomas, 4) (Entered:
                                                    06/12/2021)

                                                    Main Doc                      Dismissal
                                                    (/docket/59953190/18//)

       19        Jun 12, 2021                       FINAL DISMISSAL. (Signed by Judge Lynn N Hughes) Parties notified.(bthomas, 4) (Entered: 06/12/2021)

                                                    Main Doc                      Judgment - Final
                                                    (/docket/59953190/19//)

       20        Jun 14, 2021                       AO 435 TRANSCRIPT REQUEST by Jared R. Woodfill for Transcript of Hearing on 6/4/21 before Judge
                                                    Hughes. Daily (24 hours) turnaround requested. Court Reporter/Transcriber: Fred Warner, filed. (Woodfill,
                                                    Jared) (Entered: 06/14/2021)

                                                    Main Doc                      AO435 Transcript Request

       21        Jun 14, 2021                       AO 435 TRANSCRIPT REQUEST by Jared R. Woodfill for Transcript of Hearing for proceedings on
                                                    6/11/21 before Judge Hughes. Daily (24 hours) turnaround requested. Court Reporter/Transcriber: Lanie
                                                    Smith, filed. (Woodfill, Jared) (Entered: 06/14/2021)

                                                    Main Doc                      AO435 Transcript Request

       22        Jun 14, 2021

https://www.courtlistener.com/docket/59953190/bridges-v-houston-methodist-hospital/                                                                                   3/5
      Case
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         9:31 AM                                    Document 66 Entered      on FLSD
                                                                 ., 4:21-cv-01774         Docket 10/08/2021 Page 58 of 64
                                                                                  – CourtListener.com
     NOTICE OF APPEAL to US Court of Appeals for the Fifth Circuit by Rose Aldaya, Sandra Altamirano,
     Judith Andriko, Alison Antu, Mary Apacway, Dajuana Armstrong, Amber Baker, Edna Barrera, Debra
     Baugh, Latricia Blank, Amanda Blanton, James Borje, Laura Bowden, Jennifer Bridges, John Brockus,
     Katherine Brol, Arlin Cameron, Pierre Charland, Brian Clegg, Celina Clvir, Sherry Colbert, Joann Crump
     Creamer, Zoretta Curry, Lorri Curto, Julie De Torre, Madeline Dib, Sierra Dockray, Stephanie Dunlap, Ana
     Escobar, Brenda Escobar, Teryn Essler, Monica Estrella, Brian Felgere, Rebekah Fontenot, Michelle
     Fuentes, Adriana Galvan, Darius Gardner, Ashton Hanley, Samantha Hanlon, Tara Hansen, Savannah
     Hanson, Stacy Hanzelka, Starla Haugenator, Ashley Heinrich, Santana Henderson-Jones, Paul Herin,
     Shauna Herin, Jade Hernandez, Luz Hernandez, Stephanie Hilton, Jeffrey Hinton, Sharon Hollier, Joseph
     Hoyt, Walter Infantes, Shaylonda Jackson, Dana Janoch, Jason Jimenez, Amber Kimich, Carmen LaTorre,
     Gilberto Lara, Priscilla Lara, John Lasseigne, Angela Lavespere, Tatyana Lazarenko, Ashley Leon, Brooke
     Lighthall, Tammy Linkenhoker, Alexis Lopez, Bennie Lopez, Brandy Mann, James McCann, II, Generia
     McGraw, Elsa Mejia, Rogelio Mendez, Kim Mikeska, Norma Miller, Yolunda Milton, Ahmed Montgomery,
     Robert Morin, Cherri Mosley, Bob Nevens, Linda Pickard, Sara Pika, Christina Pineros, McKenli Pinkney,
     Theresa Porche, Jonae Powell, Cynthia Puente, Averi Reed, Kimberly Rensi, Pamela Robins, Janet
     Robison, Saul Rodriguez, Timothy Rosilez, Betty Samuel, Giovanni Savans, Leevetgra Seals, Maria
     Serrano, Kara Sheperd, James Smiley, Nicole Smith, Freenea Stewart, Cynthia Strauss, Katherine
     Sweitzer, Karene Tanner, Maria Trevino, Terah Trevino, Charles Vargnese, Randi Vincent, Mathea Volesky,
     Hunter Ward, Jennifer Warren, Victoria Webb, Alexandra Williams, Mona Wilson, Karen Witt, Latasha
     Woods, Laurica Wooten, Katie Yarber, Oscar Zamudio, Ricardo Zelante (Filing fee $ 505, receipt number
     0541-26590478), filed.(Woodfill, Jared) (Entered: 06/14/2021)

     Main Doc                    Notice of Appeal
     (/docket/59953190/22//)

                  Jun 14, 2021                             Notice of Assignment of USCA No. 21-20311 re: 22 Notice of Appeal, filed.(jtabares, 1)

       23         Jun 15, 2021                             APPEAL TRANSCRIPT re Motion proceedings held on 6/11/2021 before Judge Lynn N Hughes. Court
                                                           Reporter/Transcriber Lanie Smith. Ordering Party: Plaintiff. This transcript relates to the following: 21
                                                           AO435 Transcript Request, 22 Notice of Appeal,,,,,,,,. Release of Transcript Restriction set for 9/13/2021.,
                                                           filed. (LanieSmith, ) (Entered: 06/15/2021)

                                                           Main Doc

       24         Jun 15, 2021                             Clerks Notice of Filing of an Appeal. The following Notice of Appeal and related motions are pending in the
                                                           District Court: 22 Notice of Appeal. Fee status: Paid. Reporter(s): F. Warner, filed. (Attachments: # 1 Notice
                                                           of Appeal) (JenniferLongoria, 1) (Entered: 06/15/2021)

                                                           Main Doc
                                                           (/docket/59953190/24//)

                                                           Att 1                         Notice of Appeal

                  Jun 15, 2021                             Appeal Review Notes re: 22 Notice of Appeal. Fee status: Paid. The appeal filing fee has been paid or an
                                                           ifp motion has been granted.Hearings were held in the case. DKT13 transcript order form(s) due within 14
                                                           days of the filing of the notice of appeal. One (1) transcript has been produced. Number of DKT-13 Forms
                                                           expected: 1, filed.(JenniferLongoria, 1)

       25         Jun 16, 2021                             Notice of Filing of Official Transcript as to 23 Transcript - Appeal,. Party notified, filed. (dhansen, 4)
                                                           (Entered: 06/16/2021)

                                                           Main Doc                      Notice of Filing of Official Transcript - (FORM,
                                                                                         noticing)

       26         Jun 24, 2021                             DKT13 TRANSCRIPT ORDER REQUEST by Plaintiffs-Appellants (Attorney Jill Schumacher). This is to
                                                           order a transcript of Hearing on 06/04/2021 before Judge Lynn N Hughes. Court Reporter/Transcriber:
                                                           Fred Warner. This order form relates to the following: 22 Notice of Appeal,,,,,,,, 8 Miscellaneous Hearing,
                                                           filed.(Schumacher, Jillian) (Entered: 06/24/2021)

                                                           Main Doc                      Appeal Transcript Request (DKT-13)
                                                           (/docket/59953190/26//)

       27         Jun 24, 2021                             DKT13 TRANSCRIPT ORDER REQUEST by Plaintiffs-Appellants (Attorney Jill Schumacher). This is to
                                                           order a transcript of Motion Hearing on 06/11/2021 before Judge Lynn N Hughes. Court
                                                           Reporter/Transcriber: Lanie Smith. This order form relates to the following: 17 Motion Hearing, 22 Notice of
                                                           Appeal,,,,,,,, 23 Transcript - Appeal,, filed.(Schumacher, Jillian) (Entered: 06/24/2021)

                                                           Main Doc                      Appeal Transcript Request (DKT-13)

       28         Jul 14, 2021                             USCA LETTER for the Fifth Circuit advising court reporter Lanie Smith the transcript must be filed with the
                                                           District Court Clerk within 30 days from the date the USCA received the purchase order (USCA No. 21-
                                                           20311), filed.(EdnitaPonce, 1) (Entered: 07/14/2021)

                                                           Main Doc                      USCA Letter to Court Reporter
                                                           (/docket/59953190/28//)

       29         Jul 14, 2021                             USCA LETTER for the Fifth Circuit advising court reporter Fred Warner the transcript must be filed with the
                                                           District Court Clerk within 30 days from the date the USCA received the purchase order (USCA No. 21-
                                                           20311), filed.(EdnitaPonce, 1) (Entered: 07/14/2021)

https://www.courtlistener.com/docket/59953190/bridges-v-houston-methodist-hospital/                                                                                         4/5
      Case
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         9:31 AM                                    Document 66 Entered      on FLSD
                                                                 ., 4:21-cv-01774         Docket 10/08/2021 Page 59 of 64
                                                                                  – CourtListener.com
                                                            Main Doc                    USCA Letter to Court Reporter

        30         Jul 14, 2021                             Amicus by David Andrew Christenson, filed. (gkelner, 4) (Entered: 07/22/2021)

                                                            Main Doc
                                                            (/docket/59953190/30//)

                   Jul 23, 2021                             Appeal Remark re: 22 Notice of Appeal. Pending the filing of appeal transcripts re 26 Hearing held 6/4/21;
                                                            [ 27] Motion Hearing 6/11/21, filed.(jtabares, 1)

        31         Jul 23, 2021                             Order to Strike. Because the case is closed, David Andrew Christenson's amicus brief 30 is struck. No
                                                            future amicus are to be filed in this case without this court's prior approval.(Signed by Judge Lynn N
                                                            Hughes) Parties notified.(gkelner, 4) (Entered: 07/23/2021)

                                                            Main Doc

        32         Aug 10, 2021                             USCA LETTER for the Fifth Circuit advising the transcript must be filed with the District Court Clerk within
                                                            30 days from the date the USCA received the purchase order. In this case, the 30-day discount period
                                                            expired on 8/25/2021. Therefore the court reporter must discount your invoice by 10%, filed.(jtabares, 1)
                                                            (Entered: 08/10/2021)

                                                            Main Doc                    USCA Letter to Court Reporter
                                                            (/docket/59953190/32//)

        33         Aug 16, 2021                             The Supreme Court is the Only Legitimate Entity in The World That Can Save Mankind by David Andrew
                                                            Christenson, filed.(jdav, 4) (Entered: 08/19/2021)

                                                            Main Doc                    Document
                                                            (/docket/59953190/33//)

                   Sep 3, 2021                              Appeal Review Notes re: 22 Notice of Appeal. Fee status: Paid. 45 day review - pending actual transcripts,
                                                            filed.(scastillo, 1)

                   Sep 3, 2021                              Appeal Review Notes

        36         Oct 1, 2021                              Main Doc                    Document
                                                            (/docket/59953190/36//)

        37         Oct 5, 2021                              Main Doc                    Document
                                                            (/docket/59953190/37//)

        38         Oct 5, 2021                              Main Doc                    Order
                                                            (/docket/59953190/38//)

                   Oct 6, 2021                              Electronic Record on Appeal Certified

                   Oct 6, 2021                              Transmittal of Appeal (FORM, noticing) - Civil

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https://www.courtlistener.com/docket/59953190/bridges-v-houston-methodist-hospital/                                                                                        5/5
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 60 of 64




     Trump v. Twitter, lnc (1:21-cv-2244L) District Court, S.D. Florida Judge Robert Nichols Scola Jr.
     Friend of Court Brief filed by David Andrew Christenson October 4th,2021


                                                                   Friend of Court Brief 1


     Judge Scola,


     The attached pleadings were docketed byJudge Lynn Nettleton Hughes in Bridges v. Houston Methodist
     Hospital (4:27-cv-OL774) District Court, S.D. Texas.


     The case is closed and on appeal. I have said awful things about him, but he has not struck the pleadings.
     He did file other pleadings and ordered them struck, but he did not remove them from the record.


     Another odd point. I did not put the case number on the pleadings. One has a case number that was put
     there by someone with the court and the other one does not have a case number.




     David


     Miramar Beach, Florida 32550
     504-715-3085
     d a v i d Alr d   rewc   h ri   stqn   s_o_n   @gtn qtlqqm.
     dgh!'istensol6@hotm                                .
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 61 of 64
          Case 4:2L-cv-0L774 Document 33 Filed on 08ll1l2l in TXSD Page L of 2



                                                 4:2lcvl77                4                                      ,.y;i::g
                                                                                                                            srates courts

           Reference Supreme court: 21A15 Justice Amy coney Barrett Emergency Application for Writ                      ;'F?ftflc|"'da-
                                  lnjunction, Relief Requested by Friday, August L3,202L
                                              Amicus - 101 - August lzth, 202L                                      AUG     I6    ZgZt

                                                                                                             l\laffran Oohsner,
                                           THE MIRACIE. ANp tT rS SO STMPLE                                                     Clerk of Courr
                       (l beg you to let me retire   -   I   cannot retire untilthe narrative is changed.)


                                                                                        ENTITY IN THE
                                          THAT CAN SAVE MANKIND.

                   WHERE THE SUPREME COURT GOES, MANKIND GOES.

       Change the narrative by ordering a response. This is about Mankind. (lt is not about me, and I do not
      WANI it tO bC AbOUt ME. IT HAS TO BE ABOUT CHANGING THE NARRATIVE AND SAVING MANKIND.)


      My prevailing without the Supreme Court will result in a violent revolution. My writings will be used
      against the Supreme Court and that is not a good thing. (Pray that t do not die before the narrative is
      changed.)


      The Supreme Court is "legitimote," lf we are to bring about peaceable change then it must come from
      the Supreme Court. This ls an opportunity to hlt the "reset" button.

      I know we disagree, but I believe the Preamble is the Constitution and lWel'1, .-____, do solemnly
       swear (or offirm) that t willsupport and defend the bnstitution of the United States against oll enemies,
      foreign ond domestic; that t'will beor true faith and alleglance to the same; that t take this ohligation
      Ireely, wiihout ony mental reservation or purpose of evasion; and thot twlltwell and faithfully discharge
      the duties of the office on which   lom oboutto enter.         So help me God,"


      The agencies within the government are not only lying to the American people but to each other. The
      White House was livid this week when they found out that on May 1't, 2021, the CDC stopped tracking
       breakthrough infections forthose that had been vaccinated.

      What will happen if the American people find out the vaccines do not work?

      What happens if the Messengervaccines instruct the vaccinated immune systems to notfight the
      COV|D19 Virus? There is empirical evidence that this is happening.


      Americans will not have their immune systems because of Censorship.


           1.   Writ of Mandamus and Writ of Mandamus 14-1907 Supreme Court
           2.   Standage v. Braithwaite (1:20-cv-02830) District Court, D. Maryland Judge Ellen Lipton Hollander
           3.   Alters v. People's Republic of China (1:20-cv-21108) Dlstrict Court, S.D. Florida Judge Ursula
                Ma'ncusi Ungaro
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 62 of 64
          Case 4:2L-cv-O!774 Document 33 Filed on OBltGlz1, in TXSD Page 2 ot 2




          4.    Democratic National Committee v. The Russian Federation (1:18-cv-03501) District Court, S.D.
                New York Judge John George Koeltl
          5.    United States Court of Appeals for the Eleventh Circuit - David Andrew Christenson v. The
                United States of America - Court of Appeals No.: 21-L0371
          6.    Case No. 21-203L1" - lennifer Bridges; et al, Plaintiffs - Appellants - v. - The Houston Methodist
                Hospital, Defendants - Appellees
          7.    Bridges v. Houston Methodist Hospital (4:21-cv-07774) District Court, S.D. Texas Judge Lynn
                Nettleton Hughes
          8.    Neve v. Birkhead (1:21-cv-00308)District Court, M.D. North Carolina Judge Loretta Copeland
                Biggs
          9.  Legarreta v. Macias (2:21-cv-00179) District Court, D. New Mexico Judge Martha Alicia Vazquez
          10. Klaassen v. The Trustees of lndiana University (L:21-cv-00238) District Court, N.D, lndiana Judge
                Damon R Leichty



      Godspeed


      Sincerely,


      On File


       David Andrew Christenson
       Box 9063
      Miramar Beach, Florida 32550
      504-715-3086
      davidandrewchrlstenson@gmail.com.
      dchristenson5@hotmail.com.

                                                   Ceftificate of Service

         I hereby certify that on August 1.2th,2O2L,l filed the foregoing with the Clerk using CM/ECF and then
                   served the pleading via CM/ECF, U.S. First Class Mail and Email on August 12th,2A27.

                                                          On File


                                                David Andrew Christenson
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 63 of 64
          case 4.21,-cv-oL774 Document 36 Filed on ost2st2r,, ,Sti:"8j1{e"itl"S


                                                                                                    sEP 29     202X


                                                                                                                        *t'*
      Amicus 149    -   Septem ber   241h,   zozt -correction - Further Anatvsis - (Not rrvnhtailifrt8ilflIetftrlfll$

             Neither Trump nor Biden will "lnsure Domestic Tranquility'' People vote their fear and ignorance.

                                         THE ENEMY IS US. THERE IS NO RECOVERY.


      ls   Jared Kushner, lsrael/Mossad/, Taiwan and Ukraine funding and transporting the Haitians to Del Rio,
      Texas? Someone is funding the migration. They are tampering with the 2022 and 2024 elections.


      Our allies fear Biden. Russia does not fear Biden. Israel/Mossad has zero confidence in Biden. (You
      might add NATO, Europe and especially France. Trump is missed.) EmperorTrump returns in2O24.

                                                  Original Letter Septem bet 23'd,2027


      lsMike Lindell 'The Pillow Guy", General Michael Flynn and the Russians funding and transporting the
      Haitians to Del Rio, Texas on behalf of President Donald Trump?


      Before you decide if I am crazy, please review one pleading. Judge Lynn Nettleton Hughes, who arguably
      could be the worst judge in the Federal Judiciary or at least the most overturned, allowed my pleading
      (attached) to be entered into the docket and remain in the docket. My other pleadings were struck by
      Judge Hughes but remain in the docket. The odd part about the pleading is that I did not put the case
      number, 4:21-cv-L774, in the header, he did. Judge Hughes knows my feelings towards him.
      Bridges v. Houston Methodist Hospital (4:21-arOt774) District Court, S.D. Texas Judge Lynn Nettleton
      Attached: Case 4:21-cv-01774 Document 33 Filed on OBlt6/21in TXSD Page L of 2

      September 23'd,2021

            MATHEMATTCALLY MANKND WILL CEASE TO EXTST IS THE NEXT FEW YEARS. MATHEMATICALLY
                                                  SUICIDES WILL OUTNUMBER BIRTHS.


                                         MY FIRST JOB      rS   TO gHANGE THE NARRATIVE


                        MY SECOND JOB        Ii   TO REMOVE TRUMP AND BIDEN FROM THE NARRATIVE


      WE WOULD NOT BE IN THE PANDEMIC IF THE SUPREME COURT HAD ORDERED A RESPONSE TO MY
      WRIT 14.10077 MANDAMUS AND PROHIBITION.


      To: Jane Sullivan Roberts, Patricia McCabe, Jeffrey P. Minear, Marshal Gail A. Curley, Clerk Scott Harris,
      Justlce Amy C. Barrett. - Judge Ellen Lipton Hollander, Clerk Felicia Cannon, Chief Judge William Pryor Jr,,
      Clerk David J. Smith, Chief Judge Lee H. Rosenthal, Chief Judge Priscilla R. Owen, Clerk Lyle Cayce, Judge
      Lynn N. Hughes, Clerk Nathan Ochsner, Marshal T. O'Connor, Vice Admiral John Christenson, and lrving L
      Azoff. Complete list of addressees is at the end of the IeJter.
Case 1:21-cv-22441-RNS Document 66 Entered on FLSD Docket 10/08/2021 Page 64 of 64
             Case 4:2L-cv-0L774 Document              36 Filed on 09129121, in TXSD Page 2 of 3



      Reference: (Judge Sullivan has not closed Stevens from 2008 or Flynn from 2017. Judge Sullivan made it
     very clear that Flynn committed Treason.)
     Writ of Mandamus and Writ of Mandamus 14-1007 Supreme Court
     Six V-egs loter the 77th Circuit ollowed me to file the exoct sqme Writ that I flled with the Suoreme Court.
     Thev knew whotthev were doina. Revlew the docket.
      United States Court of Appeals for the Eleventh Circuit - David Andrew Christenson v. The United States
      of America - Court of Appeals No.: 21-1.0371- USCAll Case: 21-10371 Date Filed:-O2/O4(2O2LPage;tof
      r42.
      United States v. Stevens (1:08-cr-00231) District Court, District of Columbia Judge Emmet G. Sullivan
      United States v. Flynn (1:17'cr-00232) District Court, District of Columbia Judge Emmet G. Sullivan
      U.S. Dominion v, My Pillow, lnc. (1:21-cv-00445) District Court, District of Columbia Judge CarlJohn
      Nichols
      Alters v. People's Republic of China (1:20-cv-21108) District Court, S,D. Florida Judge Ursula Mancusi
      Ungaro - Case 1:20-cv-21108-UU Document 38 Entered on FLSD Docket O6lLOl2O20 Page t of20            -
      Review the one hundred plus pleadings that Judge Ungaro allowed me to docket. Just read the
      narratives.
      Standage v. Braithwaite (1:20-cv-02830) Distrlct Court, D. Maryland Judge Ellen Lipton Hollander
      Chief Judae Lee Rosenthal. SDTX. docketed mv pleadinos in the follqrltino two coses and she was not thg.
      presidina iudae nor was I a portv. Thev actuallv continued-to docket mv pleadlnas after the coses were
      closed.
      Bridges v. Houston Methodist Hospital (4:2l-ar07774) District Court, S,D. Texas Judge Lynn Nettleton
      Benitez-White v. Peoples Republlc of China (4:20-cv-01552) District Court, S.D. Texas Judge Ewing
      Werlein Jr. (Look at the last 7 out of 8 docket entries.)
      Democratic National Committee v. The Russian Federation (1:18-cv-03501) District Court, S.D. New York
      Judge John George Koeltl (Review the docket. Judge Koeltl gave me one hell of a voice. He allowed me to
      docket the "Unabomber's" Manifesto.)

      Zainab Naeem Ahmad, Stephen Pierce Anthony, Jocelyn S. Ballantine, Benjamin Leon Beruvlck, Jesse         R

      Binnall, Andrew Manuel Crespo, Deborah A. Curtis, Scott M. Dinner, Eugene R. Fidell, Benjamin Michael
      Flowers, Abigail Frye, John Gleeson, Elaine J. Goldenberg, Brianne Jenna Gorod, Jeffrey T. Green, Deepak
      Gupta, John Edward Hall, W. William Hodes, Robert K. Kelner, Kenneth Clair Kohl, Stanley J. Marcuss,
      David Oscar Markus, Jonathan Standish Massey, Leslie McAdoo Gordon, Molly McCann, Lindsay R.
      McKasson; Hashim M. Mooppan, Jeremiah Lee Morgan, Jonathon Alden Moseley, Robert Jeffrey Olson,
      William Jeffrey Olson, Lorenzo J. Palomares, Kristy Parker, Sidney Powell, Lawrence Saul Robbins,
      Christopher S, Ross, William W. Taylor, lll, Herbert W. Titus, P. Andrew Torrez, Brandon Lang Van Grack,
      Elizabeth Wydra, Gregory Arenson, Elisha Barron, Ddvida Broo( Florence Chen, Thomas A. Clare,
      Douglas A. Daniels, Brittany Fowler, Abraham S. Kaplan, Nathan Lewin, Ryan Malone, Megan Lambart
      Meier, Justin A. Nelson, Heath Novosad, Andrew D. Parker, Joseph Alan Pull, Dustin Andrew Pusch,
      Stephen Shackelford, Jr., Laranda Walker, and Elizabeth S. Wright.


      Godspeed - Sincerely, - David Andrew Christenson
      Box 9053 - Mlramar Beach, Florida 32550
      504-715-3085-davidandrewchristenson@smail.corn.-dchfjstenson.6@hotmail.com.
